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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF FLORIDA


   ESTATE OF LANE CAVINESS
   (LANDON CAVINESS AND MORGAN
   CAVINESS),

   PATRICK AKERLUND, MICHAEL               Case No.
   ALZATI, ERIC W ANDERSON,
   MICHAEL G. BALLARD JR. , CINDY
   BARRIONUEVO, LARRY JAMES                VERIFIED COMPLAINT
   BEARCE JR., ROBERT BELLMAN,
   BENJAMIN BENDIBURG, DOUGLAS             JURY TRIAL DEMANDED
   BERRY, GREGORY BERRY,
   DOUGLAS BOHNERT, LYNETTE
   BOTHA, CALEB BUEHRER, RICHARD
   BULLOCK, JON CARROLL, VERGIL
   CASKEY, JAMES CASTOR, BRETT L.
   CHAPMAN, NATHAN CHARBONEAU,
   SHAWN CHURCHEL, JOEL COLON,
   MARK CONNOR, MATTHEW
   CRONAUER, FRED CUNNINGHAM,
   ROYAL DANZA, ELLIOT DE SOUSA,
   ERIC DESANDRO, STEVE DIXON,
   JAMES ERICKSON, LUIS ESQUIVIA,
   LEE ESTES, ROBERT FRATTI, JASON
   FRISBIE, TIMOTHY FRYE,
   JONATHAN FUSSLE, TONY GAMBOA,
   DENNIS GEBHARD, REZA GHODS,
   MARK GILMAN, ROBERT GIUDICE,
   ERIC GORDON, GREG GORDON,
   DANIEL GREER, REXFORD T.
   HEIVILIN, JASON HENNING, DAVID
   HEWSON III, TODD HONTZ, DANIEL
   HUDSON, ROGER JUSTICE,
   VENANCIUS KASSANDJI, JOHN
   KEARINS, DAVID KEEN, RICKY
   KINDER, BETH KIRBY, ANDREAS N.
   KOUSTAS, CHAD KRAVETZ, DANIEL
   LEE, CARL LINDBERG, JOSEPH
   LOSCHIAVO, ANDREW LUTZ,
   BLYTHE LUTZ, RAFAEL MACARIO,
   DOUGLAS P. MAYO JR, MONTAGUE
   MCMILLAN, APRIL MCQUILLEN,
   CHRISTOPHER MCQUILLEN, STEVEN

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   MEISSNER, JEFFREY MICHONSKI,
   ANDREW MICKLER, COREY
   MORRIS, STEVEN MURATORE,
   GREGORY MYERS, PETER NAPORA,
   JOEL PARDO, LANCE PHILLIPS,
   PATRICK PHILLIPS, SIEGFRIED
   PITTET, GLEN PRONK, CHARLES
   RANDALL, PETER RAYMOND,
   JOSHUA ROBERTS, REBECCA
   ROBERTSON, JASON ROGERS,
   GREGORY SAMSON, KIMBERLY
   SCHRECK, WILLIAM SERRITELLA,
   GENTRY SHELTON, TODD SNAZA,
   DONALD SORRENTINO, MARK
   SOUTH, MICHAEL STARK, AUSTIN
   STATON, ELIZABETH STONEKING,
   FORREST STOWELLS, BARBARA
   JANEICE SURBER, JOHN SWIFT,
   NICK TAYLOR, MARK THIEN,
   WILLIAM THOMPSON, BRANDON
   THOROUGHMAN, GERI TONDA,
   RICARDO TORRES ABARCA,
   GUSTAVO VERDES, JAMES
   VILLELLA, FARSHAD ZARRABIAN,
   individuals,

                      Plaintiffs,

         v.

   ATLAS AIR INC., a Delaware corporation,

   FLIGHT SERVICES INTERNATIONAL,
   LLC, a Texas limited liability company,

   ENCOMPASSAIR, LLC, an Alaska limited
   liability company, and

   JOHN W. DIETRICH, PATRICIA
   GOODWIN-PETERS, JEFFREY
   CARLSON, individuals,


                      Defendants.




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                                         INTRODUCTION

         1.      This is a lawsuit by pilots and other crew members of Atlas Air, Inc. and its

   affiliated companies over unlawful vaccine mandates, religious and medical discrimination,

   unlawful coercion, unfair and deceptive labor practices, retaliation, and violations of labor laws

   and their Collective Bargaining Agreement.

         2.      Fundamentally, this lawsuit is also about the safety of America’s airline industry.

   Should pilots – among the healthiest workers in the world – be subjected to mandated

   experimental “vaccines” that are now shown to have potentially deadly, long-term side effects,

   while flying massive aircraft in our skies?

         3.      The COVID-19 policies imposed by Atlas Air, Inc. on its crews have led to a very

   dangerous situation among Atlas pilots. Pilots whose health is now compromised because of Atlas

   Air’s coercion are now afraid to come forward with chest pains and other indicators of conditions

   that will soon cause a mass casualty airline event. They are afraid to lose their jobs, but failing to

   come forward itself is a criminal act. At the same time, pilots whose health is perfect because they

   had the foresight to refuse the vaccine are daily harassed, intimidated and deprived of work and

   hours and threatened with the loss of their careers. A comprehensive solution to this problem is

   desperately, and quickly, needed. It will require money, legislative action and cooperation among

   all the stakeholders in the aviation industry acting in good faith.

         4.      Although the plaintiff pilots and crew have been among the healthiest and most

   conscientious pilots and crew in the world, Atlas Air and other defendants have acted in lockstep

   with the U.S. government in efforts to impose unlawful and unnecessary draconian COVID-19

   restrictions and controls on them.




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          5.       For now, litigation to obtain justice for those who have been wronged (and

   hopefully to bring attention to a situation that is rapidly morphing into a national security issue),

   must suffice.

          6.       The Plaintiffs in this lawsuit include pilots, flight attendants and other staff of

   Defendant Atlas Air, Inc. (“Atlas Air” or “Atlas”)—the largest air cargo shipper in the world and

   the world's largest operator of Boeing 747 aircrafts, as well as certain of its affiliated entities.

   Throughout the global COVID-19 pandemic beginning in March 2020 and continuing to the

   present, Atlas Air has imposed relentless, ever-shifting pandemic mitigation restrictions on these

   Plaintiffs, including deceptive messaging which changed from month to month and kept plaintiffs

   in constant fear for their jobs.

          7.       Atlas Air’s COVID-19-related liberty infringements rose to a company-wide

   COVID-19 vaccine injection mandate announced in the fall of 2021, in violation of United States

   law, prior promises, statements and hiring agreements including the Collective Bargaining

   Agreement (“Agreement”) between Atlas and its employees.

          8.       Coinciding with Atlas’ unlawful vaccine mandate have been wholly arbitrary,

   retaliatory and punitive travel and work restrictions for Plaintiffs but not others, discriminatory

   policies, and pay differences among employees in violation of Atlas Air’s labor agreements.

          9.       The ultimate goal of these tactics – driven by an executive leadership team obsessed

   with doing the Biden Administration’s bidding with respect to the COVID-19 vaccine mandate

   issue – has been to frighten plaintiffs and their co-workers into feeling they had no choice but to

   choose between a paycheck and having an experimental (and now proven to be extremely

   dangerous) drug injected into their bodies.




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            10.     Plaintiffs are largely unvaccinated 1 pilots, flight attendants and other Atlas or Atlas-

      affiliate staff who have suffered devastating financial, physical, psychological and other harm due

      to these violations, and who are now potentially subject to impending discharge and termination

      by Atlas and Atlas-affiliated entities following the recent imposition of the May 1, 2022 company

      mandate. Many (and perhaps most or even all) of these Plaintiffs have provable natural immunity

      to the COVID-19 virus. Many also have religious or medical exemptions from being injected

      with so-called COVID-19 “vaccines” – although it is currently unclear based on recent

      communications from Atlas and other Defendants whether they are actually still recognizing the

      religious or medical accommodations they have already granted these employees (purportedly

      because the accommodations already granted are somehow moot because enforcement of the

      federal-contractor mandate pursuant to which the accommodations were granted has been

      enjoined by multiple federal district courts).

            11.     Perhaps most significantly, it is in contravention of long-standing FAA guidance

      for pilots to take medications that have not been approved by the FDA and then in use for twelve

      months. The use of, or administration of a drug that does not meet these standards – such as the

      COVID-19 “vaccines” at issue in this case – is a blatant violation of long-standing FAA

      procedure. Yet Atlas has encouraged, coerced and even paid pilots to violate this FAA guidance

      and procedure. Further, Federal Aviation Regulation 61.53(a)(2) prohibits pilots who have taken

      a medication with side effects that would render them unable to meet the requirements of the FAA

      medical certificate from acting in any capacity as a member of a flight crew.

            12.     Based upon recent revelations from documents released from the very

      pharmaceutical companies that produced the vaccines, as well as VAERS and D-MED data, it is


  1
   Some Plaintiffs may be partially vaccinated. Hereafter the Complaint will refer to all Plaintiffs with less-than-
  sufficient vaccination status (in the eyes of Defendants) as “unvaccinated.”


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   clear the vaccines have numerous dangerous and detrimental side effects such as myocarditis,

   pericarditis, blood clots, strokes, and cardiac arrest, all of which can lead to sudden death. The

   vaccines can also lead to severe neurological conditions. This has created the classic example

   where a catastrophe is waiting to happen. It is simply not safe – and in fact is illegal under federal

   regulatory law – for vaccinated pilots to be flying right now. No better example of this is the near-

   disastrous situation that recently occurred on April 9, 2022, when the pilot of American Airlines

   Flight 1067 into Dallas Forth Worth – Rob Snow – had a cardiac event and flat-lined minutes

   after landing. A possible mass casualty event was barely avoided. There have now been multiple

   other similar incidents that have occurred around the country.

         13.     This is entirely consistent with Atlas Air’s pattern of conduct, specifically its CEO

   John Dietrich and Senior Vice President for Human Resources Patricia Goodwin-Peters. Their

   lust for power and money has led to – among other things – massive windfalls from American

   taxpayers during COVID-19 as well as a major and deadly aircraft disaster. For Atlas Air,

   COVID-19 and the government and corporate mandates that surround it have nothing to do with

   a virus, a vaccine or safety. They have only to do with power, politics and money.

         14.     Although theoretically represented by the International Brotherhood of Teamsters

   Airline Division (“Teamsters” or “the Union”), Plaintiffs have been abandoned by the union in

   connection with the COVID-19 mandates and restrictions, because the union has opted to align

   itself politically with Atlas Air and the Biden administration instead of Atlas workers.

         15.     Indeed, on March 30, 2022, the majority of Teamsters Local 2750 members present

   at their quarterly Executive Board Meeting and General Membership Meeting voted to have the

   Teamsters oppose Atlas Air’s vaccine mandate. Yet soon after the resolution was passed,

   Teamsters Union officials unlawfully and unilaterally denounced the vote and announced the

   Teamsters would support Atlas Air’s unlawful vaccine mandates.

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          16.     Thus, Plaintiffs are now forced to bring this action against Atlas Air and the other

   Defendants to enforce workers’ rights and the Collective Bargaining Agreement without the help

   of the Teamsters.

          17.     Plaintiffs will show at trial that the Teamsters has intentionally abandoned Plaintiffs

   so that Atlas Air will fire Plaintiffs and other Teamsters members will obtain boosts in their

   seniority and pay.

          18.     The so-called vaccines mandated by Atlas Air (1) do not provide immunity from

   COVID-19, (2) have waning effectiveness, (3) and pose significant risks to those who take them,

   in violation of the Collective Bargaining Agreement and other law.

          19.     Plaintiffs seek to recover all damages relating to Atlas Air’s and other Defendants’

   vaccine mandate and related misconduct (and associated coercive mandates, including weekly

   testing and constant masking).

          20.     Plaintiffs also seek to enjoin Defendants from ever enforcing their unlawful

   COVID-19 vaccine mandate, or from firing, terminating, punishing, retaliating or otherwise

   further harming Plaintiffs for not being vaccinated.

          21.     Plaintiff Landon Caviness is an individual and joint personal representative of

   employee, the Estate of Lane Caviness

          22.     Plaintiff Morgan Caviness is an individual and joint personal representative of

   employee, the Estate of Lane Caviness

          23.     Plaintiff Patrick Akerlund is an individual and employee of Atlas.

          24.     Plaintiff Michael Alzati is an individual and employee of Atlas. He resides in the

   state of Florida.

          25.     Plaintiff Eric W. Anderson is an individual and employee of Atlas.

          26.     Plaintiff Michael G. Ballard Jr. is an individual and employee of Atlas.

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          27.     Plaintiff Cindy Barrionuevo is an individual and employee of FSI

          28.     Plaintiff Larry James Bearce, Jr. is an individual and employee of Atlas.

          29.     Plaintiff Robert Bellman is an individual and employee of Atlas. He resides in the

   state of Florida.

          30.     Plaintiff Benjamin Bendiburg is an individual and employee of Atlas.

          31.     Plaintiff Douglas Berry is an individual and employee of Atlas.

          32.     Plaintiff Gregory Berry is an individual and employee of Atlas.

          33.     Plaintiff Douglas Bohnert is an individual and employee of Atlas.

          34.     Plaintiff Lynette Botha is an individual and employee of Atlas.

          35.     Plaintiff Caleb Buehrer is an individual and employee of Atlas. He resides in the

   state of Florida.

          36.     Plaintiff Richard Bullock is an individual and employee of Atlas. He resides in

   the state of Florida.

          37.     Plaintiff Jon Carroll is an individual and employee of Atlas.

          38.     Plaintiff Vergil Caskey is an individual and employee of Atlas.

          39.     Plaintiff James Castor is an individual and employee of Atlas.

          40.     Plaintiff Brett L. Chapman is an individual and employee of Atlas.

          41.     Plaintiff Nathan Charboneau is an individual and employee of Atlas.

          42.     Plaintiff Shawn Churchel is an individual and employee of Atlas. He resides in

   the state of Florida.

          43.     Plaintiff Joel Colon is an individual and employee of Atlas. He resides in the state

   of Florida.

          44.     Plaintiff Mark Connor is an individual and employee of Atlas.

          45.     Plaintiff Matthew Cronauer is an individual and employee of Atlas.

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          46.     Plaintiff Fred Cunningham is an individual and employee of Atlas.

          47.     Plaintiff Royal Danza is an individual and employee of Atlas.

          48.     Plaintiff Elliot De Sousa is an individual and employee of Atlas.

          49.     Plaintiff Eric Desandro is an individual and employee of Atlas. He resides in the

   state of Florida

          50.     Plaintiff Steve Dixon is an individual and employee of Atlas.

          51.     Plaintiff James Erickson is an individual and employee of Atlas.

          52.     Plaintiff Luis Esquivia is an individual and employee of Atlas. He resides in the

   state of Florida.

          53.     Plaintiff Lee Estes is an individual and employee of Atlas.

          54.     Plaintiff Robert Fratti is an individual and employee of Atlas.

          55.     Plaintiff Jason Frisbie is an individual and employee of Atlas.

          56.     Plaintiff Timothy Frye is an individual and employee of Atlas. He resides in the

   state of Florida.

          57.     Plaintiff Jonathan Fussle is an individual and employee of Atlas.

          58.     Plaintiff Tony Gamboa is an individual and employee of Atlas. He resides in the

   state of Florida.

          59.     Plaintiff Dennis Gebhard is an individual and employee of Atlas. He resides in

   the state of Florida.

          60.     Plaintiff Reza Ghods is an individual and employee of Atlas. He resides in the

   state of Florida.

          61.     Plaintiff Mark Gilman is an individual and employee of Atlas.

          62.     Plaintiff Robert Giudice is an individual and employee of Atlas.




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          63.     Plaintiff Eric Gordon is an individual and employee of Atlas.

          64.     Plaintiff Greg Gordon is an individual and employee of Atlas.

          65.     Plaintiff Daniel Greer is an individual and employee of Atlas.

          66.     Plaintiff Rexford T. Heivilin is an individual and employee of Atlas.

          67.     Plaintiff Jason Henning is an individual and employee of Atlas.

          68.     Plaintiff David Hewson III is an individual and employee of Atlas. He resides in

   the state of Florida.

          69.     Plaintiff Todd Hontz is an individual and employee of Atlas. He resides in the

   state of Florida.

          70.     Plaintiff Daniel Hudson is an individual and employee of Atlas.

          71.     Plaintiff Roger Justice is an individual and employee of Atlas.

          72.     Plaintiff Venancius Kassandji is an individual and employee of Atlas. He resides

   in the state of Florida.

          73.     Plaintiff John Kearins is an individual and employee of Atlas.

          74.     Plaintiff David Keen is an individual and employee of Atlas.

          75.     Plaintiff Ricky Kinder is an individual and employee of Atlas.

          76.     Plaintiff Beth Kirby is an individual and employee of Atlas. She resides in the

   state of Florida.

          77.     Plaintiff Andreas N. Koustas is an individual and employee of Atlas.

          78.     Plaintiff Chad Kravetz is an individual and employee of Atlas. He resides in the

   state of Florida.

          79.     Plaintiff Daniel Lee is an individual and employee of Atlas.

          80.     Plaintiff Carl Lindberg is an individual and employee of Atlas.

          81.     Plaintiff Joseph Loschiavo is an individual and employee of Atlas.

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          82.     Plaintiff Andrew Lutz is an individual and employee of Atlas. He resides in the

   state of Florida.

          83.     Plaintiff Blythe Lutz is an individual and employee of Atlas. She resides in the

   state of Florida.

          84.     Plaintiff Rafael Macario is an individual and employee of Atlas. He resides in the

   state of Florida.

          85.     Plaintiff Douglas P. Mayo Jr. is an individual and employee of Atlas. He resides

   in the state of Florida.

          86.     Plaintiff Montague McMillan is an individual and employee of Atlas.

          87.     Plaintiff April McQuillen is an individual and employee of Atlas. She resides in

   the state of Florida.

          88.     Plaintiff Christopher McQuillen is an individual and employee of Atlas. He

   resides in the state of Florida

          89.     Plaintiff Steven Meissner is an individual and employee of Atlas. He resides in

   the state of Florida.

          90.     Plaintiff Jeffrey Michonski is an individual and employee of Atlas.

          91.     Plaintiff Andrew Mickler is an individual and employee of Atlas.

          92.     Plaintiff Corey Morris is an individual and employee of Atlas. He resides in the

   state of Florida.

          93.     Plaintiff Steven Muratore is an individual and employee of Atlas. He resides in

   the state of Florida.

          94.     Plaintiff Gregory Myers is an individual and employee of Atlas.

          95.     Plaintiff Peter Napora is an individual and employee of Atlas.

          96.     Plaintiff Joel Pardo is an individual and employee of Atlas.

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          97.     Plaintiff Lance Phillips is an individual and employee of Atlas.

          98.     Plaintiff Patrick Phillips is an individual and employee of Atlas.

          99.     Plaintiff Siegfried Pittet is an individual and employee of Atlas.

          100.    Plaintiff Glen Pronk is an individual and employee of Atlas.

          101.    Plaintiff Charles Randall is an individual and employee of Atlas.

          102.    Plaintiff Peter Raymond is an individual and employee of Atlas.

          103.    Plaintiff Joshua Roberts is an individual and employee of Atlas.

          104.    Plaintiff Rebecca Robertson is an individual and employee of FSI.

          105.    Plaintiff Jason Rogers is an individual and employee of Atlas.

          106.    Plaintiff Gregory Samson is an individual and employee of Atlas.

          107.    Plaintiff Kimberly Schreck is an individual and employee of Atlas.

          108.    Plaintiff William Serritella is an individual and employee of Atlas. He resides in

   the state of Florida.

          109.    Plaintiff Gentry Shelton is an individual and employee of Atlas.

          110.    Plaintiff Todd Snaza is an individual and employee of Atlas.

          111.    Plaintiff Donald Sorrentino is an individual and employee of Atlas.

          112.    Plaintiff Mark South is an individual and employee of Atlas.

          113.    Plaintiff Michael Stark is an individual and employee of Atlas.

          114.    Plaintiff Austin Staton is an individual and employee of Atlas.

          115.    Plaintiff Elizabeth Stoneking is an individual and employee of FSI.

          116.    Plaintiff Forrest Stowells is an individual and employee of Atlas.

          117.    Plaintiff Barbara Janeice Surber is an individual and employee of FSI.

          118.    Plaintiff John Swift is an individual and employee of Atlas.

          119.    Plaintiff Nick Taylor is an individual and employee of Atlas.

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          120.    Plaintiff Mark Thien is an individual and mechanic contracted to Atlas from

   Encompass Air LLC.

          121.    Plaintiff William Thompson is an individual and employee of Atlas. He resides

   in the state of Florida.

          122.    Plaintiff Brandon Thoroughman is an individual and employee of Atlas.

          123.    Plaintiff Geri Tonda is an individual and employee of FSI.

          124.    Plaintiff Ricardo Torres Abarca is an individual and employee of FSI.

          125.    Plaintiff Gustavo Verdes is an individual and employee of Atlas.

          126.    Plaintiff James Villella is an individual and employee of Atlas. He resides in the

   state of Florida.

          127.    Plaintiff Farshad Zarrabian is an individual and employee of Atlas. He resides

   in the state of Florida.

          128.    Defendant Atlas Air, Inc. (“Atlas” or “Atlas Air”) is a Delaware corporation

   with its principal place of business in Purchase, New York. It is a wholly owned subsidiary of

   Atlas Air Worldwide Holdings, is a cargo airline, passenger charter airline, and aircraft lessor.

          129.    Atlas Air is a common carrier as defined in federal law.

          130.    Atlas Air has a massive presence in Florida, and specifically in this judicial district,

   with a hub, its training center and other operations. Its training center is located at 5600 NW 36 th

   St., Miami, FL 33166. It consists of 30,000 square feet of administrative and instructional space,

   including the operation of six flight simulation training devices. It “provides a wide range of

   advanced training solutions, specializing in aircrew training for wide body B747 and B767s.” It

   teaches “more than 10,000 pilots, flight engineers, flight attendants, and other aviation

   professionals each year.”




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          131.    Defendant Flight Services International, LLC is a Texas limited liability

   company with its principal place of business in Houston, Texas. It is a company whose exclusive

   business is to contract flight attendants to Atlas Air. All the flight attendants who are staffed on

   Atlas Air flights are contracted through FSI. FSI was founded by an Atlas contract attorney and

   his spouse. All its employees receive all their training at the Atlas training facility in Miami. FSI

   contracts its flight attendants to Atlas Air and receives millions in dollars from Atlas Air in return.

          132.    Defendant EncompassAir, LLC is an Alaska limited liability company with its

   principal place of business in Anchorage, Alaska. It is a company whose business is to contract

   mechanics to Atlas Air and other airlines.

          133.    Defendant John W. Dietrich is an individual and is President and Chief Executive

   Officer for Atlas Air, and is a Board Member of Atlas Air. He keeps an executive office in Miami,

   FL.

          134.    Defendant Jeffrey Carlson is an individual and is Senior Vice President for Flight

   Operations for Atlas Air. He keeps an executive office in Miami, FL.

          135.    Defendant Patricia Goodwin-Peters is an individual and Senior Vice President

   for Human Resources for Atlas Air. She keeps an executive office in Miami, FL.

                                    JURISDICTION AND VENUE


          136.    This Court has subject matter jurisdiction over this case under 28 U.S. Code § 1331

   because the case arises under the Constitution, laws, or treaties of the United States.

          137.    This Court has personal jurisdiction over defendants because under International

   Shoe and its progeny, they have at least minimum contacts with Florida such that traditional

   notions of fair play and substantial justice would not be offended by the exercise of jurisdiction.

   In addition, personal jurisdiction is appropriate under Florida’s long-arm statute, 48.193. Atlas,


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   its affiliated companies, and Atlas executives engaged in unlawful acts regarding the COVID-19

   vaccine mandates through acts within the state of Florida as well as acts outside the state of Florida

   that caused harm to numerous plaintiffs in the state of Florida.

          138.     Venue is proper in the U.S. Southern District of Florida because Atlas Air and its

   affiliates, and leadership do a high percentage of their business and stage a high percentage of

   their flights in and around southern Florida and the Miami International Airport. In addition, the

   30,000 square foot Atlas Training Center that trains 10,000 people per year is located in this

   judicial district.

                                     FACTUAL ALLEGATIONS


          139.     By mid-March 2020, COVID-19 had been declared a pandemic. The subsequent

   lockdowns and other draconian measures taken by governments and large corporations wreaked

   havoc on the global economy and tore at the societal fabric.

          140.     News of the COVID-19 global pandemic spread through the air transportation

   industry like wildfire, beginning in January and February 2020. Plaintiffs heroically performed

   their duties throughout early 2020 while many people around the world were locked down or

   sheltered in their homes, and while many businesses and industries were shuttered. From the

   earliest days of the pandemic, many Atlas pilots and crewmembers contracted the COVID-19

   virus and recovered. Thus, many or most of the Plaintiffs in this lawsuit have developed natural

   immunity throughout the history of the pandemic.

          141.     Beginning around December 2020, it was announced that there had been three

   mRNA “vaccines” purportedly developed for COVID-19: Pfizer, Moderna and Johnson &

   Johnson. These did not go through any standard form of lengthy, multi-phase clinical trials or




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   normal CDC or FDA approval. Rather, they were rushed through pursuant to Emergency Use

   Authorizations (“EUAs”) and then an extremely abbreviated FDA “approval” process.

         142.    Initially, it was widely claimed that these vaccines prevented infection and

   transmission of the COVID-19 virus; but soon it became obvious that these vaccines were not

   vaccines in the classic dictionary sense. Rather these “vaccines” were mere gene therapy

   treatments and did not provide any immunity, only reduced severity of symptoms, for those who

   took them. This distinction is important; it means that any alleged benefits of taking the shots

   were merely for the individual recipient and provided no protection for others.

         143.    Tens of millions of Americans, including Plaintiffs, questioned this process and

   were adamantly opposed to taking these vaccines due to this questionable process as well as

   religious, medical or other reasons.

         144.    Those who chose to not take a COVID-19 vaccine were prescient. These vaccines

   have turned out to be ineffective, dangerous and, in some cases, deadly, as shown both anecdotally

   and through the Vaccine Adverse Effects Reporting System (“VAERS”) and DOD DMED

   database.

         145.    Perhaps most significantly, per long-standing FAA guidance, Plaintiffs were

   prohibited from taking experimental medications prior to 12 months post-FDA approval. Federal

   Aviation Regulation 61.53(a)(2) prohibits pilots who have taken a medication with side effects

   that would render them unable to meet the requirements of the FAA medical certificate from

   acting in any capacity as a member of a flight crew. Atlas encouraged, coerced and even paid

   pilots to violate these long-standing federal regulations, yet the ones who refused to comply were

   the ones punished as set forth below.

         146.    Atlas Air has the largest wide-body fleet of aircraft in the world. Atlas Air holds

   the world’s largest 747 fleet of aircraft in the world.

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          147.    Atlas Air is the largest customer of the Department of Defense (“DOD”) Air

   Mobility Command (“AMC”). Atlas carries more U.S. troops and military material than any other

   airline in the world.

          148.    Atlas Air receives many millions of dollars from the DOD and AMC.

          149.    Atlas flies more revenue freight ton miles internationally than UPS or FedEx. In

   this respect it is the largest air freight carrier in the world.

          150.    Atlas Air is a behemoth in the air cargo and VIP charter industry, yet its executives

   relish the anonymity and relative invisibility they have enjoyed up to this time.

          151.    Atlas Air intentionally negotiated in bad faith with its pilot group, avoiding

   renewing their pilot contract from 2016 to 2021, enabling the executives to keep hundreds of

   millions of dollars. This made Atlas Air management the highest compensated aviation executives

   in the world while at the same time keeping their pilot group the lowest paid in the industry for

   that entire time.

          152.    In 2020, Atlas Air made eight times the net profit they made from the previous

   record year in 2019. During this time, CEO John Dietrich applied for and successfully lobbied

   and received $407,000,000 in COVID-19 bailout monies from American taxpayers.

          153.    Atlas Air agreed to pay $100,000,000 to settle an international cargo price fixing

   scheme to avoid going to trial. They finished paying off the $100,000,000 in 2020, the same year

   they received the $407,000,000 in taxpayer bailout cash from the government.

          154.    Patricia Goodwin-Peters joined Atlas Air as Senior Vice President of Human

   Resources after leaving Kate Spade, having a background in women’s fashion. She had zero

   experience in aviation. Despite this fact, she immediately began overseeing the training and hiring

   standards of the pilots of Atlas Air.




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         155.     Scott Anderson, who was the Senior Director of Flight Proficiency, Training, and

   Standards at Atlas Air was ultimately fired by Goodwin-Peters.

         156.     Anderson was a graduate of the United States Naval Academy, retired Naval

   Aviator, Blue Angels Pilot, and former Delta Airlines 747-400 Captain, 767 Captain, and FAA

   Designated Examiner (APD). Captain Anderson was also a Check Airman for Delta on both the

   747 and 767.

         157.     Due to the deteriorating and toxic conditions within the operation, Atlas Air was

   losing pilots faster than they could be replaced. Goodwin-Peters pressured Anderson to replace

   these very experienced and seasoned pilots with pilots fresh out of flight school and with very

   little experience. Anderson explained to Patricia Goodwin-Peters that these very low-hour pilots

   did not have the experience or proficiency to pilot large, widebody aircraft safely across oceans

   and continents.

         158.     Anderson informed Goodwin-Peters that although he could legally hire them, they

   were not competent to safely operate these large aircraft in complex conditions around the world.

   Goodwin-Peters insisted that Anderson hire these inexperienced pilots despite that they were not

   competent for these missions. Anderson refused and was fired by Goodwin-Peters.

         159.     In a 2020 United States Senate Safety Oversight report, the FAA Inspector assigned

   to Atlas Air’s training standards stated that Atlas Air violated FAA regulatory compliance for a

   decade and called Atlas’ operations the worst he had ever seen for any certificate holder under

   the Certificate Holder Evaluation Process (“CHEP”). He was reassigned to regulate another

   airline after refusing to accept the constant violations by Atlas Air. In his opinion, he was being

   retaliated against by the FAA due to its cozy relationship with Atlas Air.

         160.     At or about the beginning of September 2021, Goodwin-Peters sent a message to

   all Atlas employees (following up on a message sent by Dietrich) and announced all employees

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   would be required to be “fully vaccinated” with a COVID-19 vaccine pursuant to the Biden

   Administration’s mandate regarding federally-contracted employees by December 8, 2021. She

   also announced that employees were required to report their vaccination status to the company.

   According to the notice, “per the Centers for Disease Control and Prevention (CDC), people are

   considered fully vaccinated two weeks after their second dose of the Pfizer-BioNTech or

   Moderna COVID-19 vaccines, or two weeks after the single-dose Johnson & Johnson’s Janssen

   COVID-19 vaccine.” (Emphasis in original)

         161.    Goodwin-Peters’ announcement of the vaccine mandate policy demonstrated Atlas’

   disingenuousness from the beginning. Atlas purported to stand for personal choice regarding

   COVID-19 vaccines: “As a Company, we support the views of health experts that vaccines reduce

   the impact and spread of COVID-19. That said, we have been consistent in our position that

   vaccination is a personal choice and we were not planning to mandate vaccines for our

   employees. However, we are now required to comply with this Executive Order.” As set forth

   below, after the Biden Administration’s mandate was enjoined by various federal courts around

   the country, Atlas immediately reverted to a company-directed mandate.

         162.    Atlas directed that Friday, October 22, 2021 was the deadline “for crewmember[s]

   to request an exemption due to medical or religious reasons.”

         163.    Atlas directed that Wednesday, October 27, 2021 was the deadline for

   crewmembers to receive their “first vaccine if electing to receive the Pfizer BioNTech or Moderna

   vaccine that requires two shots.”

         164.    Atlas directed that Wednesday, November 24, 2021 was the deadline for

   crewmembers to “receive [their] vaccine if electing to receive the Johnson & Johnson’s Janssen

   vaccine that requires one shot.”




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          165.    Atlas directed that Wednesday, November 24, 2021 was the deadline for

   crewmembers to “receive [their] second vaccine if electing to receive the Pfizer BioNTech or

   Moderna vaccine that requires two shots.”

          166.    Atlas directed that Thursday, November 25, 2021 was the deadline for

   crewmembers to “report [their] vaccination status to the Company.”

          167.    FSI, whose sole business and source of revenue was to contract flight attendants to

   Atlas, quickly followed suit in multiple communications. On September 4, 2021, FSI President

   Joni French sent an e-mail to employees that made brazenly explicit the discrimination in work

   conditions and compensation faced by those who were choosing to not take the experimental and

   dangerous vaccine, falsely stating that it was about “health and safety.” She wrote:

                  The health and safety of all our Cabin Crewmembers remains a top
                  priority for FSI. To support your well-being, as well as that of your
                  work colleagues, we encourage everyone to pursue the COVID-19
                  vaccine. Cabin Crewmembers who have proof of vaccination will
                  increasingly be able to operate with more flexibility under less
                  restrictive quarantine rules.

                  We are pleased to let you know that we will now provide 5 hours of
                  additional compensation to every FSI Flight Attendant who receives
                  their COVID-19 vaccine and submits a copy of their vaccination
                  card.

   Thus, those who gave into the pressure to take the vaccine would “be able to operate with more

   flexibility under less restrictive quarantine rules” and would receive more compensation than those

   who did not.

          168.    Numerous Plaintiffs applied for and received a medical or religious accommodation

   with respect to the mandate. Some did not, yet remained adamantly opposed to taking what they

   considered to be an experimental and dangerous vaccine.




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         169.      Prior to the December 8, 2021 federal contractor vaccine mandate going into effect,

   the mandate was enjoined by a federal district court in Kentucky. Several other federal district

   courts throughout the country issued similar injunctions throughout December and January 2022.

         170.      On or about January 13, 2022, The Supreme Court of the United States blocked the

   OSHA mandate requiring businesses with over 100 employees to impose vaccine and testing

   requirements.

         171.      On or about January 25, 2022, in light of the Supreme Court’s ruling, OSHA

   announced it was withdrawing its vaccine and testing requirements that were at issue. However,

   President Biden called upon businesses to voluntarily impose the mandates themselves.

         172.      Because Atlas and the other Defendants no longer had the cover of a federal

   contractor vaccine mandate or OSHA requirement – and despite their previous statements that

   they believed in personal choice when it came to COVID-19 vaccine mandate issues and were

   only reluctantly following federal law – Atlas Air immediately and dutifully obeyed the word of

   the Biden Administration and announced it would do the President’s bidding.

          Harassment, Retaliation, and Intentional Infliction of Emotional Distress.

         173.      The lives of plaintiffs were effectively put on hold since October 2021 with constant

   threats of unpaid leave and termination by defendants against plaintiffs.

         174.      On January 25, 2022, Goodwin-Peters sent out a communication stating:

                   Earlier today, you received notice that all U.S. employees who must
                   travel as an essential function of their position must be fully
                   vaccinated by May 1, 2022. This policy applies to you. We recognize
                   that you previously sought an accommodation from the COVID-19
                   vaccine mandates the company previously implemented to comply
                   with Executive Order 14042 (applicable to federal contractors) and
                   OSHA’s Emergency Temporary Standard (applicable to employers
                   with more than 100 employees).
   (Emphasis added).



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          175.   Goodwin-Peters in the same communication indicated that employees would not

   be required to submit new medical or religious accommodation requests – rather that ones they

   previously submitted would be processed:

                 Given your requests for accommodation from the Company’s
                 previous COVID-19 vaccination mandates, the Company is
                 assuming you are seeking a request for accommodation from the
                 vaccine policy that will take effect May 1, unless you respond to this
                 email and indicate otherwise by Friday, January 28, 2022. If you do
                 not respond by January 28, the Company will process your new
                 request for accommodation based on the information already in its
                 possession and follow-up with you thereafter to identify any
                 reasonable accommodations the Company can offer without undue
                 hardship.


   So Atlas employees who were unvaccinated were left in a continued state of legal, emotional and

   career limbo. Those who had submitted a prior request for medical or religious accommodation

   were hopeful that it would be granted again, and those who did not or were not seeking such an

   accommodation yet chose not to take the vaccine were facing termination by May 1, 2022.

          176.   All unvaccinated employees remained subject to the same harassment, disparate

   treatment and fear of losing their jobs that they had been under for months. The companies’

   vaccinated pilots became harassers, snitches, and tattletales with the willing approval of Atlas

   Air, building a network of gossip and dissension similar to the practice of snitch cultivation in the

   worst prison systems.

          177.   For example, Plaintiff Richard Bullock, a pilot who often flew cargo to southeast

   Asia, found himself subjected to retaliatory discipline after he became known throughout the

   company as being unvaccinated and a critic of mandates. Snitching fellow pilots initiated

   exaggerated disciplinary proceedings against Bullock based on a mere late-night disagreement

   with angry bar patrons at a tavern in South Korea.



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          178.   Another plaintiff, Jimmy Villella, was actually told by defendants that he needed

   to change his religion when he informed them that his religion forbade participation in weekly

   testing.

          179.   In at least one case, the defendants’ intentional infliction of emotional distress led

   to violent death. Atlas pilot Lane Caviness was a leading plaintiff in the original complaint filed

   in this dispute and took a lead role in finding counsel and sharing his grievances with Atlas

   mandates and related imposition. When Caviness became known as an anti-mandate activist

   within the company, he became a target for discrimination and lost prospects. The distress

   stemming from Caviness’ isolation within Atlas Air ultimately contributed to a violent

   confrontation with law enforcement in August 2022 in which Caviness was tragically killed.

          180.   During the years of 2020, 2021 and 2022 Atlas Air coerced, intimidated, harassed

   and harangued its employees into complying with various COVID-19 related rules, including

   mask and then vaccine requirements, at the same time violating both the religious and medical

   rights of those same employees. Atlas continually demanded they submit to an experimental

   medical procedure regardless of their medical conditions or religious beliefs.

          181.   During this time, Atlas Pilots, flight attendants, mechanics, load masters, general

   employees, and even some members of management endured an extremely hostile and toxic work

   environment. One pilot particularly obsessed with the issue would compare unvaccinated

   employees to January 6th protestors (believing it was some kind of insult apparently). CEO

   Dietrich also felt compelled to weigh in on the events of January 6 th with some “personal

   thoughts” on January 7th.

          182.   Often employees were interrogated before beginning their shifts or flight

   assignments with demands for answers to questions of personal and protected medical and

   religious information. Atlas employees were leaking passwords to databases containing this

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   legally protected information, and that information was then disseminated to their coworkers who

   often berated and attacked them for not being “vaccinated.”

         183.    “Vaccinated” crew members were demanding “unvaccinated” coworkers work the

   entire flight with a facial covering while the “vaccinated” remained uncovered.

         184.    Atlas Air, Inc. CEO John Dietrich openly encouraged this behavior by making

   written and oral statements that “vaccinated” crews felt unsafe with “unvaccinated” crews and

   intimated that this was an unfair situation for the “vaccinated” crews.

         185.    Both Dietrich and Goodwin-Peters made repeated statements that if air crews

   expected to have a future at Atlas Air, they would have no choice other than to be “vaccinated.”

   Both Dietrich and Goodwin-Peters also stated that religious and medical exemptions to being

   “vaccinated” would not be accepted and that “unvaccinated” crews would be placed on unpaid

   leave or terminated with ever-changing and lengthening deadlines in an attempt to intimidate and

   coerce vaccination against a minority of employees whose religious convictions and personal

   medical conditions precluded these procedures.

         186.    On March 8, 2022, after the January 25, 2022 Goodwin-Peters communication,

   things got worse for the Plaintiff flight attendants who worked for FSI.

         187.    They received a communication from FSI President Joni French stating that if they

   were not vaccinated by May 1, 2022, they would be placed on an unpaid leave of absence

   regardless of the fact they had previously requested an accommodation:

                 Atlas Air, Inc. has advised FSI that all FSI employees who work on
                 Atlas flights must be fully-vaccinated by May 1, 2022. (Obviously,
                 Atlas is entitled to determine the terms under which FSI’s flight
                 attendants are eligible to work on Atlas flights.)

                 We recognize that you previously requested an accommodation
                 (exemption) from the COVID-19 vaccine mandates the Company
                 implemented to comply with Executive Order 14042 (applicable to


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                     federal contractors) and OSHA’s Emergency Temporary Standard
                     (applicable to employers with more than 100 employees). Atlas is
                     experiencing increasing global regulations and COVID-19 vaccine
                     mandates, including significant travel restrictions such as limited
                     access to critical hotels/restaurants that are used by its flight crews
                     during travel. Given this highly-restrictive environment, Atlas
                     has revised its vaccine policy for the ongoing safety, compliance
                     and viability of its operations as well as to protect its employees,
                     customers and members of the public.

                     Unfortunately, if you are unable or unwilling to obtain COVID-19
                     vaccinations, you will not be eligible to work on Atlas Air flights.
                     In that event, FSI has no other work, including flights for its flight
                     attendants to crew. If we do not receive evidence that you have been
                     fully vaccinated by April 30, 2022, you will be placed on an unpaid
                     leave of absence (LOA).

   (Emphasis in original).

          188.       At various times, Atlas and the other Defendants ordered that unvaccinated

   employees be tested weekly. Yet despite language in the Collective Bargaining Agreement

   indicating vaccines and testing is to be provided at no cost, Plaintiffs have been expected to pay

   for the mandatory testing at their own expense.

          189.       Some Plaintiffs took the vaccine, upon Defendants’ repeated deception and

   coercion, without informed consent.

          190.       At no time during the period covered by this complaint did Atlas or the other

   defendants provide the full complete inserts regarding the vaccines to Atlas employees who took

   the injections.

          191.       At no time during the period covered by this complaint did Atlas or the other

   defendants inform those who took the injections, or any employees, of reports of vaccine injuries

   as reported in the VAERS database.




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          192.   Some plaintiffs and employees became vaccinated only to be told later that to be

   allowed to fly into Germany, it was mandatory to get “booster” shots for those crewmembers that

   received the one-shot Johnson & Johnson vaccine.

          193.   On or about March 23, 2022, with the politics of COVID-19 and vaccine mandates

   having changed dramatically in the preceding weeks (and with word spreading that undersigned

   counsel would be representing Plaintiffs), Atlas suddenly changed its tune. In the course of these

   shifting pronouncements, the hypocrisy of Atlas’ and other Defendants’ actions has been nothing

   less than stunning, and these moves have been a day late and a dollar short.

          194.   First, despite terrorizing plaintiffs over COVID-19 restrictions from the onset of

   COVID-19 to the present day, as the global politics of the COVID-19 mandate issues began to

   change, Dietrich was actually among a group of major airline CEOs who signed a letter to

   President Biden on March 23, 2022, requesting that he lift various COVID-19 restrictions. In the

   letter, the CEOs write:

                 Given that we have entered a different phase of dealing with this
                 virus, we strongly support your view that “COVID-19 need no
                 longer control our lives.” Now is the time for the Administration
                 to sunset federal transportation travel restrictions – including
                 the international predeparture testing requirement and the
                 federal mask mandate – that are no longer aligned with the
                 realities of the current epidemiological environment.

   (Emphasis in original). Despite this public posturing, Atlas still enforces company-wide COVID-

   19 restrictions that are harassing, discriminatory and are meant as retaliation against those who

   have stood up to Atlas’ leadership and other Defendants’ tyrannical conduct.

          195.   Then, on March 25, 2022, the company attempted to mollify Plaintiffs by

   purporting to assure them that – despite maintaining a private company-wide vaccine mandate –

   those who had previously obtained a religious or medical exemption pursuant to the federal



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   contractor mandate would purportedly be allowed to fly after the May 1, 2022 company vaccine

   mandate deadline “so long as they undergo requisite COVID-19 testing at their expense.”

         196.    The communication Atlas sent to its employees made clear that Atlas has not

   changed its policy of discriminating against those who have chosen to not be vaccinated for

   religious or other personal reasons of informed consent or bodily autonomy. Specifically,

   Goodwin-Peters made clear that Atlas believes its prior actions in discriminating against the

   unvaccinated was justified, and that Atlas could revise its policy at any time in the future (to, for

   example, fire unvaccinated employees or place them on unpaid leave or re-assign them).

   Specifically, for example, Goodwin-Peters stated:

                 As a reminder, employees who travel as an essential function of their
                 position must be vaccinated by May 1 pursuant to the Company’s
                 Policy.

                 ...

                 Throughout the pandemic, we have closely monitored the state of
                 the pandemic and changing regulations, both domestically and
                 globally, and with your help, have adjusted our operations and
                 policies to adapt to the evolving environment to protect our
                 employees and our operations.

                 The Company maintains the right to revise this Policy as
                 appropriate and at its sole discretion, including based on changing
                 domestic and global regulations and the state of the pandemic. We
                 will continue to closely watch the global vaccination and testing
                 requirements and metrics tied to the pandemic, and communicate
                 any necessary changes to our policies as appropriate.

   (Emphasis added).

         197.    Thus, despite this move, Atlas employees were still faced with the prospect of

   working at a company that could pull the rug out from under their employment at any time because

   of their vaccination status.




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         198.    On March 31, 2022, Goodwin-Peters sent another e-mail underscoring the

   discrimination that would persist at Atlas Air. It mandated that unvaccinated employees with

   medical or religious accommodations would have to undergo testing at their own expense

   pursuant to a complicated process, as well as wear masks indoors despite the widespread

   knowledge that wearing paper masks over one’s face has accomplished absolutely nothing with

   respect to transmission of COVID-19.

         199.    Throughout this time period, Goodwin-Peters repeatedly sent e-mails to

   employees urging them to review and re-acknowledge the Atlas Air employee handbook.

         200.    On April 21, 2022 there was even more confusion, whether intentional or

   otherwise. That day, Goodwin-Peters sent out an updated Atlas Air Worldwide COVID-19

   Vaccination & Testing Policy, along with Atlas Air Worldwide COVID-19 Vaccine Policy:

   Frequently Asked Questions. A mere ten days before Atlas’ May 1st vaccination mandate policy

   was to go into effect, these documents clearly purported to reverse the announcement on or around

   April 1st that those with religious and medical accommodations would be allowed to fly and

   otherwise remain gainfully employed. In addition to testing at employee expense, a further

   requirement was mandated that all COVID tests will be videotaped by the employee and retained

   to be given to Human Resources upon demand.

         201.    The Policy stated that “Employees who travel as an essential function of their

   position must be fully vaccinated against COVID-19 by May 1, 2022.” (Emphasis in original). It

   then stated that “Employees not in compliance with this Policy may be subject to discipline, up

   to and including termination pursuant to applicable law.” It further states that

                 Essential-travel employees who do not choose to be vaccinated, and
                 who are not in compliance with the Policy as of the effective date of
                 May 1, 2022, may not be permitted to continue traveling and may
                 be placed in an alternate position or subject to an unpaid leave status.



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          202.    Further, the FAQ document made unequivocally clear that the prior medical and

   religious accommodations obtained by employees – which Atlas and other Defendants indicated

   on January 25, 2022 would be applicable going forward – would no longer be recognized:

                  If you were previously granted an accommodation from a Company
                  policy or practice designed to comply with the federal Executive
                  Order mandating vaccination, your accommodation is no longer
                  effective. The Executive Order has been stayed by a federal court
                  and is not applicable to us at this time, so there is no longer any
                  Company policy or practice being implemented to comply with the
                  Executive Order from which an accommodation is necessary.
                  At this time, the Company anticipates it will be unable to permit
                  unvaccinated employees to perform travel duties after May 1
                  without jeopardizing business continuity and/or incurring
                  substantial administrative and other costs. The Company is
                  experiencing ever-increasing global regulations and vaccine
                  mandates related to COVID-19, including travel restrictions as well
                  as limited access to critical hotels/restaurants that are used by
                  employees during travel. The Company is reviewing what if any
                  reasonable accommodations it may be able to provide to
                  unvaccinated employees who are eligible for an accommodation
                  after May 1, including unpaid leave and reassignment.


   (Emphasis added).

          203.    This was directly contrary to prior company guidance. It created such an

   instantaneous uproar that the company was forced to retract it the very next day on April 22, 2022:

                  It has been brought to our attention that employees have
                  inadvertently been directed to an out-of-date Vaccination & Testing
                  Policy and related FAQs, which contained information that is no
                  longer accurate. In particular, if you have previously been granted
                  a religious or medical accommodation to the vaccination policy,
                  your exemption is still in effect. Beginning May 1, you will be
                  required to test as set forth in the Policy and FAQs. Please see below
                  for the correct links.


   (Emphasis in original).
          204.    To add insult to injury, while the entire world (including the federal government

   thanks only to a federal district judge’s recent decision in Florida) is taking off their useless masks


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   on airplanes, in airports and otherwise, President Joni French of FSI is insisting that everyone

   continue to wear a mask on Atlas flights. This was announced on April 19, 2022, leading one

   Atlas flight attendant to marvel at the fact that the first time in 9 months American soldiers

   deployed to the most dangerous places in the world were required to wear a paper mask over their

   faces is when they boarded an Atlas Air flight.

         205.    Throughout the entire course of the foregoing events, EncompassAir followed the

   lead of Atlas Air and mirrored Atlas policies and conduct with respect COVID-19 related

   mandates for its employees who were contracted to Atlas.

         206.    Throughout the pandemic, executives at Atlas urged Atlas employees including

   Plaintiffs, to get injected with the vaccines, while simultaneously insisting that the company

   would never support a vaccination mandate. The Teamsters Union signed an agreement with the

   company that the Union would help the company push and promote vaccination among Atlas

   employees. The Teamsters and Teamsters Local 2750 even agreed to roll out a program in

   violation of the Collective Bargaining Agreement which allowed vaccinated employees to receive

   a bonus, and thus higher pay than unvaccinated employees.

         207.    Local 2750 and the Teamsters were overwhelmingly led and directed by partisan

   Democrats and loyalists of U.S. President Biden. And, as elsewhere, the vaccine rollout within

   Atlas became tinged with political animosity. Upon information and belief, the Teamsters and

   Local 2750 have never once voiced any criticism of Atlas’ vaccination push to the company,

   despite knowing that many Atlas employees did not wish to become vaccinated, were religiously

   or medically exempt, or naturally immune.

         208.    Throughout the spring, summer and fall of 2021, all the parties, including

   Teamsters Local 2750 and the International Brotherhood of Teamsters Airline Division

   negotiated a new Collective Bargaining Agreement. These negotiations occurred during, and in

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   the midst of the global COVID-19 panic and pandemic and while COVID-19 and discussions

   about COVID-19 mitigation strategies including vaccines and ideas about vaccine mandates

   were in the international news every single day. Concerns about the vaccines, and about whether

   vaccines would be mandated, were high in the thoughts of every Atlas Air pilot, flight attendant

   and employee, as well as among Atlas Air executives and executives and officers of the Teamsters

   and Teamsters Local 2750.

         209.    Throughout this period of contract negotiation, Atlas Air and its defendant

   executives repeatedly assured concerned employees, including all Plaintiffs, that the company

   would not be mandating the COVID vaccines (which were available throughout 2021).

         210.    On September 10, 2021, the Collective Bargaining Agreement (the “Agreement”)

   was signed and executed by Atlas, the Teamsters, and flight deck crew members. The final

   agreement plainly gave the company no authority whatsoever to impose vaccination mandates

   upon Atlas employees (or any other invasions of workers’ medical autonomy). The only section

   specifically addressing vaccinations was Article 27F, which provides: “The Company shall

   provide, at no cost to Crew Members, an immunization plan that includes, at a minimum, the

   following vaccinations . . . (Yellow fever, Hepatitis, Typhoid, Tetanus, etc.).”

         211.    Art. 27F(10) of the agreement provides that the Company shall provide, at no cost,

   “Any other immunizations recommended by the current United States Center for Disease Control

   ‘Advice for International Travel’ document.” The plain language of 27F(10) gives no authority

   for Atlas Air to mandate such immunizations. The referenced “Advice for International Travel”

   document of the CDC appears to be several documents and/or web pages, none of which mandate

   COVID-19 vaccinations for U.S. Citizens. Indeed, the CDC’s published instructions

   (https://www.cdc.gov/coronavirus/2019-ncov/travelers/proof-of-vaccination.html) contains a

   section dedicated to airline crew members. The Technical Instructions applicable to crew

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       members plainly do not mandate airline pilots or crew members to be injected with COVID-19

       vaccine treatments.2

              212.     The September 10, 2021 date of the agreement is quite significant in light of

       events. Just the day before, on September 9, 2021, President Biden announced that all companies

       with more than 100 employees were required to implement COVID-19 vaccine mandates or

       require weekly testing of employees. This announcement must have been on the forefront of

       everyone’s mind when the Collective Bargaining Agreement was signed. Nothing in the

       agreement gave Atlas any authority whatsoever, independent of a government-imposed mandate,

       to impose its own mandate. (In fact, as described below, the agreement explicitly protected Atlas

       employees from exposure to any unsafe conditions or events.)

              213.     Following the early September communication from Goodwin-Peters regarding the

       federal contractor mandate, on October 5, 2021, Defendant John Dietrich, President & Chief

       Executive Officer of Atlas Air, sent an email to all Atlas employees saying, “President Biden

       recently signed an Executive Order providing for certain mandates related to COVID-19 for

       federal contractors and subcontractors, and the U.S. government has now issued further guidance

       for implementing this Order.” Dietrich wrote that “[t]hrough the course of the pandemic, we’ve

       been very clear in our intention that we would not mandate that our employees be

       vaccinated. However, as a federal contractor who flies the military and their equipment, we will

       be required to comply with the Order issued by the President.”

              214.     The October 5, 2021 email claimed Biden’s “Executive Order requires that we

       determine the vaccination status of all of our U.S.-based employees. Therefore, we are now




   2    https://www.cdc.gov/quarantine/order-safe-travel/technical-instructions.html.


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   requiring all of our U.S. workforce to provide us with your vaccination status.” (Emphasis in

   original).

          215.    The email went further than the federal pronouncement and announced that Atlas

   Air would soon roll out electronic vaccine passports (“electronic proof of your vaccination card”)

   within the company.

          216.    The email announced that Atlas Air would recognize religious and medical

   exemptions and would restrict workers’ vaccine status information to “Human Resources, Legal

   and limited members of the COVID-19 Safety Team.”

          217.    Significantly, the Oct.5, 2021 email by Defendant John Dietrich announced that

   vaccinated employees would be paid “five hours of compensation” while unvaccinated employees

   would not.

          218.    On January 13, 2022, the US Supreme Court struck down the OSHA mandate as

   unconstitutional. However, Defendant Atlas Air continued to maintain its Atlas-wide injection

   mandate. Neither Local 2750 nor the Teamsters voiced any concern or opposition to Atlas Air.

          219.    Moreover, Atlas Air violated the Collective Bargaining Agreement’s Art. 25

   regarding scheduling (“The Company shall offer Out-Base assignments by system-wide seniority.

   . .”). Specifically, Atlas Air has discriminated against Plaintiffs in bids for flights to certain Asian,

   South American and European bases—despite such destinations having NO laws or restrictions

   against unvaccinated crewmembers. The lack of any mandatory vaccination requirements for

   crewmembers was repeatedly transmitted via email to the union and company by citing the

   government websites of the destination countries that specified there were NO requirements at

   the time. That information was ignored, and the Atlas management-imposed travel bans on

   unvaccinated Atlas crewmembers remained in place.




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         220.    This discrimination and arbitrary retaliatory and punitive treatment of Plaintiffs

   have cost Plaintiffs significant monetary damages and emotional distress.

         221.    Atlas Air’s communications promised that Atlas employees’ vaccination statuses

   would be kept confidential within “Human Resources, Legal and limited members of the COVID-

   19 Safety Team.” But in fact, Plaintiffs’ and employees’ vaccination statuses were widely

   disseminated throughout the company in violation of their medical privacy.

         222.    Atlas Air’s promulgation of COVID-19 hype and hysteria created a dangerous and

   hostile work environment throughout the company for Plaintiffs and employees who dared to

   question or defy the messaging. Atlas Air’s panic-inducing policies produced instances of vicious

   shouting and screaming among Plaintiffs and other Atlas staff during trans-ocean flights, and

   occasional unsafe episodes of pilots leaving their cockpits to scream at coworkers for being

   unvaccinated or for voicing questions or criticisms of Atlas Air pandemic messaging.

         223.     This toxic, cutthroat atmosphere continues through the present day, as Atlas

   employees suffering from vaccine injuries struggle to keep their injuries hidden, secret and

   suppressed in order to protect their careers. Teamsters’ members within the company have openly

   remarked that they look forward to the day that Plaintiffs will be terminated from the company,

   thus allowing vaccinated employees to rise in seniority and pay.

         224.    On February 8, 2022, the Teamsters and Local 2750 actually announced that they

   had joined Atlas and the other Defendants in creating a program to recruit new, vaccinated and

   compliant hires to replace the plaintiffs upon plaintiffs’ termination. Atlas and the Teamsters

   worked together to pay the pilot group $5,000 per new hire they refer to Atlas to replace the pilots

   who would be fired because of the vaccine mandate.




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         225.    On March 30, 2022 The Executive Board of Teamsters Local 2750 traveled to the

   Teamsters Local 2750 office in Cincinnati, Ohio and conducted their quarterly Executive Board

   Meeting and General Membership Meeting.

         226.    The Executive Board were surprised by the remote and in-person turnout, as the

   meeting was attended by approximately 100 members. According to Local 2750’s newsletter #99,

   “During this meeting, a spirited effort was made to pass resolutions requiring ‘the union to

   engage in any and all legal disputes in any and all jurisdictions related to disputes arising from

   the Atlas Air vaccine policies,’ and requiring the ‘union to donate $300,000 in total to the three

   following organizations:’” U.S. Freedom Flyers - $100,000, Airline Employees 4 Health Freedom

   (AE4HF) - $100,000, and Atlas Flight Deck Crewmembers Association (AFDCA) - $100,000.

         227.    All three groups were known to oppose Atlas Air’s impending vaccine mandate

   mass termination.

         228.    The Teamsters Local 2750 newsletter downplayed the vote, claiming that “a

   spirited effort was made to pass” the resolutions. In fact, the “spirited effort” had passed,

   overwhelmingly. Indeed, the newsletter linked to a letter drafted by Teamster General Counsel

   William Wilder admitting all three resolutions had passed. But the Teamster lawyer claimed the

   resolutions conflicted with the Teamsters constitution, which Wilder claimed (falsely, it appears)

   gave all decision-making authority to Teamsters Executive Board members.

         229.    Local 2750’s #99 newsletter then stated: “While we appreciate the passionate

   engagement from these members, the resolutions discussed cannot be enacted.” (Again: the

   resolutions were not merely discussed; they were passed by the membership.) “After legal

   review,” claimed the newsletter, “Local 2750 legal counsel determined these resolutions violate

   the IBT Constitution and Local 2750 Union Bylaws and are therefore invalid.”




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          230.    Wilder even claimed that informed medical consent had been falsely characterized

   by union members as a “right.” Informed consent, said Wilder, “is nowhere mentioned as an

   object of the Local Union in Section 4 of the Bylaws.”

          231.    Instead of complying with the obvious wishes of membership to defy Atlas Air

   regarding the impending May 1 mass-termination of hundreds of employees, the Teamsters and

   Local 2750 provided a link for Atlas Air to “Please click” to identify and retaliate against

   members of the Atlas Flight Deck Crewmembers Association who opposed the company’s

   mandates. At no time did 2750 even pass on a message to Atlas Air executives regarding

   employee opposition to the unlawful mandates.

          232.    Ironically, during this time period, the issues the Teamsters seemed most concerned

   about had nothing to do with illegal COVID-19 vaccine mandates. Local 2750 President Yngve

   Paulsen sent out an e-mail on April 15, 2022, touting the following accomplishments: (i) new

   pillows for all fleets with rest facilities; (ii) business class blankets of a better quality and larger

   size; (iii) replacing Maxwell House coffee with “better quality coffee”; (iv) including vegetarian

   hot meals “where meat will be provided separately and not premixed in a dish”; and (v) providing

   chopped fresh fruit in tray setups.

          233.    All of the Defendants were aware of all the foregoing conduct and false statements

   set forth in this Complaint and participated in the acts that have caused massive pain, suffering,

   emotional distress, mental anguish and loss of job opportunities and future income.

          234.    In the course of its actions, Atlas Air consistently acted in lockstep with the widely

   publicized goals of the Biden Administration. For purposes of these actions, whether by incentive

   or threat, Atlas Air has become a State Actor.

          235.    In order line the pockets of Atlas Air executives in exchange for doing the

   government’s bidding, the Biden Administration pumped in $407,000,000 in COVID-19 bailout

                                                                                                        36
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   money to a massively profitable corporation. Atlas refused to return the funds when questions

   were raised in a Congressional hearing on why such a profitable company deserved a

   $407,000,000 handout of taxpayers’ money. In return, Atlas Air acted in concert with the

   Government to achieve the Administration’s objective of coercing all Americans to take a

   COVID-19 vaccine. There is no other rational explanation for Atlas Air receiving such a windfall

   from the American taxpayers.

         236.    Thus, Atlas Air is a “person” and a State Actor under 42 U.S.C. § 1983.

         237.    The Biden Administration has effectively delegated its authority to the private

   sector and sought companies like Atlas Air to do its bidding. This has been effective: companies

   like Atlas Air gave its employees an unconscionable ultimatum: choose between their jobs or take

   an experimental, life-threatening gene therapy/vaccine, for a disease known to have a very high

   survivability rate of over 99% and for which effective alternative treatments now exist.

         238.    The Government has acted in concert with Atlas Air and publicly supported its

   private mandate since the Biden Administration cannot legislate a public one. Atlas Air’s mandate

   was preconceived. Its purpose was to effectuate the Biden Administration’s will and be one of

   the large, corporate examples so other big employers would follow suit. Atlas, its CEO Dietrich

   and SVP Goodwin-Peters are engaged in a quid pro quo arrangement whereby Atlas Air is

   enforcing the agenda the Biden Administration knows it cannot legislate or impose by fiat. Stated

   differently – the government acquires more power through the imposition of private employer

   mandates. In exchange, the Biden Administration is lining the pockets of big corporations and

   their executives like Atlas Air, Dietrich and Goodwin-Peters through policy or pecuniary gain at

   the expense of their own employees’ lives.

         239.    On information and belief, there have been numerous, private meetings between

   Dietrich and the Biden Administration regarding the vaccine mandate policies.

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         240.    These meetings, various comments by Dietrich, and Government financial support

   for Atlas Air show such a close working arrangement between Atlas Air and the Government that

   Atlas Air should be considered a State Actor for purposes of Section 1983.

         241.    The U.S. Equal Employment Opportunity Commission (“EEOC”) has taken the

   position that they do not and will not interfere with or prevent employers from following the

   guidelines and suggestions made by the CDC or state/local public health authorities about steps

   employers should take regarding COVID-19:

                 The EEOC has received many inquiries from employers and
                 employees about the type of authorization granted by the U.S.
                 Department of Health and Human Services (HHS) Food and Drug
                 Administration (FDA) for the administration of three COVID-19
                 vaccines. These three vaccines were granted Emergency Use
                 Authorization (EUA) by the FDA. It is beyond the EEOC’s
                 jurisdiction to discuss the legal implications of EUA or the FDA
                 approach. Individuals seeking more information about the legal
                 implications of EUA or the FDA approach can visit the FDA’s EUA
                 page.

         242.    The EEOC has not taken any actions much less made any public statements

   condemning these patently unlawful employment practices. For these reasons and others set forth

   below, Plaintiffs are not required to first seek recourse via the EEOC prior to bringing their

   discrimination and/or employment claims.

         243.    Also, irreparable harm will result from the delays associated with exhaustion of

   administrative remedies. Millions of people have been hurt and thousands have been killed due

   to the COVID-19 vaccines that Atlas Air mandated Plaintiffs take. Not only can these vaccines

   cause injury generally, but the gene therapies pose specific harms to Plaintiffs working in the

   airline industry, which has requirements that employees maintain a certain standard of health for

   safety purposes. Waiting 180 days for the EEOC process to complete or to receive a right to sue




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   letter is not a viable option as irreparable harm is imminent not only for their jobs, but also for

   their safety and the safety of consumers.

           244.   Additionally, the EEOC lacks the institutional capacity to resolve the particular

   types of issues presented given there are millions of employees across the United States who seek

   to challenge these mandated practices, and the EEOC does not have enough staff/personnel to

   review all of the claims. Also, the EEOC does not have the authority to address the

   Constitutionality of all the claims associated with the employment practices at issue and does not

   possess the institutional knowledge or authority to redress those matters relating to health, safety

   and welfare. Therefore, requiring Plaintiffs to exhaust administrative remedies would be futile,

   useless and inadequate to redress Plaintiff’s employment issues and to prevent the irreparable

   harm.

                                            COUNT I
                         Title VII, 42 U.S.C. § 2000e, et seq. (“Title VII”)
                        Religious Discrimination – Failure to Accommodate

                   All Employee Plaintiffs vs. Atlas Air, FSI and EncompassAir

           245.   Plaintiffs reallege and incorporate paragraphs 1 through 245 above as if fully set

   forth herein and incorporates all of the foregoing factual allegations and all inferences and

   implications drawn therefrom in support of this Count and cause of action.

           246.   Title VII of the Civil Rights Act of 1964 (“Title VII) protects workers from

   employment discrimination based on their race, color, religion, sex (including pregnancy, sexual

   orientation, and transgender status) national origin, or protected activity. See 42 U.S.C. §

   2000e(k).

           247.   Under Title VII, an employer is prohibited from discriminating because of religion

   in hiring, promotion, discharge, compensation, or other “terms, conditions or privileges” of



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       employment, and also cannot “limit, segregate, or classify” applicants or employees based on

       religion “in any way which would deprive or tend to deprive any individual of employment

       opportunities or otherwise adversely affect his status as an employee.” 42 U.S.C. § 2000e-2(a)(1),

       (2).

              248.    Title VII defines “religion” as including “all aspects of religious observance and

       practice, as well as belief, unless an employer demonstrates that [it] is unable to reasonably

       accommodate . . . without undue hardship on the conduct of the employer’s business.” See 42

       U.S.C. § 2000e(j).

              249.    These protections apply whether the religious beliefs or practices in question are

       common or non-traditional, and regardless of whether they are recognized by any organized

       religion. See, e.g., Cooper v. Gen. Dynamics, Convair Aerospace Div., 533 F.2d 163, 168 (5th

       Cir. 1976) (stating “all forms and aspects of religion, however eccentric, are protected”).

              250.    The test under Title VII’s definition of religion is whether the beliefs are, in the

       individual’s “own scheme of things, religious.” 3

              251.    Belief in God or gods is not necessary; nontheistic spiritual beliefs can also be

       religious for purposes of the Title VII exemption as long as they “‘occupy in the life of that

       individual “a place parallel to that filled by . . . God” in traditionally religious persons.’” 4




   3
            This common formulation derives from the seminal Supreme Court decisions interpreting the conscience
   exemption in the Military Selective Service Act, 50 U.S.C. § 3806(j). See, e.g., Redmond v. GAF Corp., 574 F.2d
   897, 901 n.12 (7th Cir. 1978) (“We believe the proper test to be applied to the determination of what is ‘religious’
   under § 2000e(j) can be derived from the Supreme Court decisions in Welsh v. United States, 398 U.S. 333 (1970),
   and United States v. Seeger, 380 U.S. 163 (1969), i.e., (1) is the ‘belief’ for which protection is sought ‘religious’ in
   person’s own scheme of things, and (2) is it ‘sincerely held.’” (quoting those decisions)); Fallon v. Mercy Cath.
   Med. Ctr., 877 F.3d 487, 490-91 (3d Cir. 2017) (applying same test to Title VII claim of religious
   discrimination); Davis v. Fort Bend Cnty., 765 F.3d 480, 485 (5th Cir. 2014) (same); Adeyeye v. Heartland
   Sweeteners, LLC, 721 F.3d 444, 448 (7th Cir. 2013) (same); EEOC v. Union Independiente de la Autoridad de
   Acueductos, 279 F.3d 49, 56 (1st Cir. 2002) (same); see also, e.g., EEOC Guidelines on Discrimination Because of
   Religion, 29 C.F.R. § 1605.1 (stating that EEOC has “consistently applied” this standard to Title VII).
   4
            Fallon, 877 F.3d at 491 (quoting Welsh, 398 U.S. at 340 (quoting Seeger, 380 U.S. at 176)).


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             252.     The non-discrimination provisions of Title VII also protect employees who do not

       possess religious beliefs or engage in religious practices 5 which here in this case the Plaintiffs

       allege to include their personal moral and ethical beliefs, spiritual beliefs, and/or conscience even

       for those who might not derive those from a from structured religious organization.

             253.     Obviously, the law does not limit religious exemptions to only those faiths or

       denominations which enjoy a dominant presence in society. For example, in one case one

       Plaintiff holds a sincere and genuine belief in his Creator God under the terminology of a higher

       power and has experienced the help and assistance of his spiritual beliefs in improving himself

       and his life and overcoming problems and obstacles although pursued in the context of his

       fellowship of like-minded believers, which have grown to address all spiritual aspects of life.

             254.     The Defendant Employers have left Plaintiffs with an unconscionable choice of

       either taking a COVID-19 vaccine at the expense of their religious beliefs or losing their

       livelihoods.

             255.     Plaintiffs have sincere, religious beliefs that preclude them from taking a COVID-

       19 vaccine.

             256.     Plaintiffs require, requested, and now request reasonable accommodation as

       defined further in 29 CFR § 1605.2.

             257.     Plaintiffs informed their employers of those beliefs and requested (or tried to

       request) religious accommodations from the vaccine mandate.




   5
             See, e.g., Noyes v. Kelly Servs., 488 F.3d 1163, 1168 (9th Cir. 2007) (addressing “non-adherence or reverse
   religious discrimination claim”); Reed v. Great Lakes Cos., 330 F.3d 931, 933-34 (7th Cir. 2003) (“[F]or these
   purposes, . . . ‘religion’ includes antipathy to religion. And so an atheist . . . cannot be fired because his employer
   dislikes atheists.”); Shapolia v. Los Alamos Nat’l Lab’y, 992 F.2d 1033, 1037 (10th Cir. 1993) (plaintiff claimed he
   was fired “because he did not hold the same religious beliefs as his supervisors”); Young v. Sw. Sav. & Loan Ass’n,
   509 F.2d 140 (5th Cir. 1975) (finding Title VII violated by requiring atheist employee to attend prayer portion of
   business meeting).


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         258.    Plaintiffs provided their employers adequate notice of their request for

   accommodation.

         259.    At all relevant times, the Defendant Employers Atlas Air, FSI and EncompassAir

   have been corporations continuously doing business throughout the country engaged in an

   industry affecting commerce within the meaning of Title VII and had at least fifteen (15)

   employees.

         260.    The Defendant Employers Atlas Air, FSI and EncompassAir mandated that all their

   employees take a COVID-19 vaccine or face termination.

         261.    The Plaintiffs are all current or former employees of the Defendant Employers, with

   any separation of the Plaintiffs from the Defendant Employers being a direct and proximate result

   of the violations complained of herein.

         262.    At first, the Defendant Employers announced that they would consider objections

   and claims of exemption based upon religious beliefs.

         263.    In addition to their medical objections and liberty-based objections to being forced

   to taking a mandated vaccine against their will and without informed consent, also being

   experimental and not properly tested, and under an emergency authorization rather than proper

   licensing, all of the Plaintiffs herein also each hold one or more religious-based objections to

   taking the COVID-19 vaccine.

         264.    Indeed, initially the Defendant Employers responded with essentially form letters

   that were identical in wording and content with only the name of the addressee employee

   individualized.

         265.    In addition, initially, the Defendant Employers made work accommodations such

   as providing notice of flight routes where the availability of the work opportunity was limited by




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   vaccination status, allegedly based on the restrictions of the country or countries where the route

   would land (although in fact this information was always or nearly always false and incorrect).

          266.    Thus, initially, the Defendant Employers provided work accommodations for the

   Plaintiffs by allowing them to choose flights domestically and/or on international routes to

   countries that did not require a vaccination.

          267.    And in other communications made publicly available within the companies the

   Defendant Employers also mass-distributed the private medical information of the Plaintiffs’

   vaccination status.

          268.    However, the Defendant Employers then effectively -- that is, decisively, strongly,

   and unambiguously, but while simply pretending their previous grant of exemptions had not been

   granted -- revoked and withdrew the Plaintiffs’ religious exemptions.

          269.    Defendant Employers revoked then effectively -- that is, decisively, strongly, and

   unambiguously, but while simply pretending their previous accommodations had not been

   authorized -- revoked and withdrew their work accommodations for the Plaintiffs.

          270.    Having invited, received, and granted in writing religious exemptions for the

   Plaintiffs, the Defendant Employers admit that the Defendants should have granted and the

   Plaintiffs should have received religious exemptions.

          271.    However, the Defendant Employers subsequently ordered categorically,

   unambiguously, and categorically that the Plaintiffs be vaccinated or suffer termination

   employment and in the interim loss of work opportunities including hours available to work and

   routes to fly on.

          272.    Defendant Employers had no basis for not granting and recognizing the Plaintiffs’

   religious objections and claims of religious exemption, other than the ulterior motives of the




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       political goals of the leadership and the union and desire to cultivate favor with the Biden

       Administration.6

             273.    Defendant Employers had no basis for not granting and recognizing the Plaintiffs’

       religious objections and claims of religious exemption.

             274.    Despite empty assurances, the Defendant Employers then began to act as if the

       religious exemptions did not exist and had never existed and threatened the Plaintiffs with

       termination and/or other loss of other benefits and work opportunities notwithstanding their

       previous acknowledgement of the Plaintiffs’ religious exemptions.

             275.    The Defendant Employers both began to make statements, announcements and

       declarations and issue orders inconsistent with the religious exemptions of the Plaintiffs but also

       to act in disregard of those exemptions so as to effectively cancel them.

             276.    Pursuant to governing law and the Collective Bargaining Agreement, the Plaintiffs

       are not required to specify the nature or grounds of their religious objection or their request for a

       religious exemption.

             277.    However, the claims of religious objection include:

                     A. the mRNA vaccines for COVID-19 are not traditional vaccines but hijack or

                          rewrite the genetic coding and operations of human cells (even if only RNA

                          rather than the major DNA) so as to offend his Creator’s design of the human

                          body),




   6 Although the prior Trump Administration had pushed for the accelerated development of the vaccines, which was
   achieved before Donald Trump left office, despite the industries cutting corners and rushing the process to an extent
   and in ways the Plaintiffs believe to be unacceptable, the incoming Biden Administration specifically set a campaign
   promise and policy goal of achieving universal 100% vaccination rates. Thus, a universal vaccination rate became
   in national politics a policy objective separate from and in addition to the vaccine itself.


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                   B. the mRNA technology threatens an ethically offensive and dangerous path to

                        redesigning human bodies as chimera or hybrid humans, for which there is

                        already considerable enthusiasm and activism among some in the scientific

                        community seeking to improve humanity by modifying his Creator’s design

                   C. the vaccine or its predecessors were developed, cultivated, and/or mass

                        produced using fetal stem cells or fetal tissues that in a Plaintiff’s conscience

                        bother him or her as benefitting from the death of others, in this case unborn

                        children

                   D. the use of fetal stem cells and fetal tissues incentivizes or normalizes the

                        benefit of one life at the expense of another, which is ethically unacceptable

                   E. while even the Catholic Church encourages parishioners to “consider” the

                        COVID vaccine, its guidance is heavily dependent upon balancing the

                        availability of ethically preferable options and the benefits and the exact

                        circumstances and opposes mandates including for the very reason that they

                        block the exercise of conscience; Plaintiffs also insist that the lack of

                        necessary studies and data, and communicated data, prevents their balancing

                        of benefits and ethical concerns. 7

                   F. while Plaintiffs accept medication as religiously tolerable, rushing a new

                        vaccine to market without adequate testing or data or use experience violates

                        the balancing of need versus risk that he believes makes medication

                        religiously acceptable in some cases (as when necessity outweighs concerns)



   7
     See, e.g., “Health-Care Workers Denied Religious Exemption to COVID-19 Vaccine Mandate Settle Lawsuit for
   $10.3M,” National Catholic Register, July 31, 2022, accessible at:
    https://www.ncregister.com/cna/health-care-workers-denied-religious-exemption-to-covid-19-vaccine-mandate-
   settle-lawsuit-for-10-3m


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                  G. Plaintiffs object to the excessive faith placed in human effort rather than in his

                      or her Creator

                  H. Some Plaintiffs may object categorically to vaccines in general on religious

                      grounds as an excessive intrusion into the Creator’s design for his body

                  I. Some Plaintiffs objects to the use of force or coercion to medicate his body

                      not only on liberty and medical grounds but as a religious interference in the

                      exercise of conscience.

                  J. Plaintiffs also object in addition to on liberty grounds that being forced to

                      medicate his body without freedom of choice by force or coercion will lead to

                      increasing authoritarian control being asserted over him or her and society.

         278.     Most of the Plaintiffs refused to get vaccinated.

         279.     A few of the Plaintiffs took the vaccine but declined to disclose their personal

   choices and private medical information to certify vaccination to their employer.

         280.     A few of the Plaintiffs relented under coercion and pressure and became

   vaccinated, and then suffered medical complications, side effects, and injury, including the death

   of lead Plaintiff Lane Caviness.

         281.     A few of the Plaintiffs relented under coercion and pressure and became

   vaccinated.

         282.      Many of the Plaintiffs contend that although they have taken other vaccines

   without inquiry in the past, in this case their attention has been publicly drawn to the problems

   with this COVID-19 vaccination that they were not previously aware of in the past with regards

   to other vaccines, causing them to research and inquire to a deeper level than ever before and

   causing them to develop moral, ethical, conscience, and religious concerns and objections not




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   only because the COVID-19 vaccination is different but because their level of awareness has

   been made greater and deeper than was previously the case.

         283.     After the reversal of exemptions and accommodations, Plaintiffs’ employers

   refused to engage in meaningful discussion or in the interactive process with Plaintiffs regarding

   their requests; or conveyed how their refusal to take a vaccine would impact their employers.

   Rather, their employers responded to Plaintiffs with announcements designed to deter Plaintiffs

   from exercising their sincere religious beliefs contrary to the purpose of asking for

   accommodations.

         284.     Atlas Air, FSI and EncompassAir failed to provide Plaintiffs with reasonable

   accommodations for their sincere, religious beliefs; instead, they discriminated against Plaintiffs

   with adverse employment actions.

         285.     The perpetual threat of unpaid leave is not a reasonable accommodation.

         286.     Rather, it is an adverse employment action. Atlas Air, FSI and EncompassAir

   thereby discriminated against Plaintiffs because of their religious beliefs.

         287.     Atlas Air, FSI and EncompassAir have engaged in these practices with malice and

   indifference to Plaintiffs’ rights, including pursuing ulterior non-business motives.

         288.     The employers’ ultimate failure to provide or continue religious accommodations

   has harmed and will continue to harm Plaintiffs.

         289.     Despite the fact that filing charges with the EEOC is mostly futile, many Plaintiffs

   have done so and many others are in the process of doing so.


                                              COUNT II
                           Title VII, 42 U.S.C. § 2000e, et seq. (“Title VII”)
                                 Religious Discrimination – Retaliation

                    All Employee Plaintiffs vs. Atlas Air, FSI and EncompassAir



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          290.     Plaintiffs reallege and incorporate paragraphs 1 through 290 above as if fully set

   forth herein and incorporates all of the foregoing factual allegations and all inferences and

   implications drawn therefrom in support of this Count and cause of action.

          291.     Specifically, Plaintiffs incorporate by reference all of the allegations in the

   preceding Count I.

          292.     At all relevant times, Atlas Air, FSI and EncompassAir have been a corporation

   continuously doing business throughout the country engaged in an industry affecting commerce

   within the meaning of Title VII and had at least fifteen (15) employees.

          293.     The employers mandated that all its employees take a COVID-19 vaccine or face

   termination. Their actions have left Plaintiffs with an unconscionable choice of either taking a

   COVID-19 vaccine at the expense of their religious beliefs or losing their livelihoods.

          294.     Plaintiffs have sincere, religious beliefs that preclude them from taking a COVID-

   19 vaccine.

          295.     Plaintiffs informed their employers of those beliefs and requested (or wanted to

   request) religious accommodations from the vaccine mandate. Plaintiffs provided their

   employers adequate notice.

          296.     Atlas Air, FSI and EncompassAir violated Title VII when they responded to these

   requests by retaliating against Plaintiffs, informing them that they would effectively be

   terminated by being placed on indefinite unpaid leave in attempt to coerce them into taking a

   COVID-19 vaccine and ultimately doing so.

          297.     The sole reason for the employers’ adverse employment actions against Plaintiffs

   was to retaliate against them for their sincerely held religious beliefs.

          298.     The employers have engaged in these practices with malice and indifference to

   Plaintiffs’ rights.

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            299.     The employers’ retaliation has harmed and will continue to harm Plaintiffs.

   Despite the fact that filing charges with the EEOC is futile, many Plaintiffs have done so and the

   remainder are in the process of doing so.


                                                COUNT III
                                       42 U.S.C. § 1983 and Bivens
                Violation of Right to Privacy, Denial of Equal Protection and Due Process

                                            All Plaintiffs vs. Atlas Air

             300.    Plaintiffs reallege and incorporate paragraphs 1 through 300 above as if fully set

       forth herein and incorporates all of the foregoing factual allegations and all inferences and

       implications drawn therefrom in support of this Count and cause of action.

             301.    Plaintiffs are citizens of the United States.

             302.    At all times relevant hereto, Atlas Air was a State Actor and a person acting under

       the color of law. That is, Atlas Air is the air cargo line of the U.S. Departments of Defense and

       other government agencies, transporting more tons of air freight for more miles for the

       government than any other airline including the U.S. Air Force.

             303.    Many Atlas Air flights are wholly compelled, directed and commanded by the U.S.

       government.    And in many cases, the government compels and directs precisely how Atlas Air

       must complete its missions. This has been the case throughout the COVID-19 pandemic period.

             304.    That is, Atlas Air has taken decisive employment actions that have caused Plaintiffs

       harm that is so impregnated with governmental character that it can be regarded as government

       action. The government is compelling Atlas Air’s actions whether through incentive or threat.

            305.     The U.S. government has effectively delegated its authority to the private sector 8



   8
    See e.g., West v. Atkins, 487 U.S. 42, 108 S.Ct. 2250, 101 L.Ed.2d 40 (1988); North Georgia Finishing, Inc. v. Di-
   Chem, Inc., 419 U.S. 601 (1975).


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             and used companies like Atlas Air to do its bidding for them.

         306.     Atlas Air and other defendants are therefore engaged in a quid-pro-quo arrangement

   with the DOD whereby Atlas and defendants are enforcing the agenda the Federal government

   knows it cannot legislate. Stated differently, the government is able to acquire what it always wants

   – more power – through the imposition of private-employer mandates.

         307.     In exchange, the Biden administration is lining the pockets of Atlas and other big

   corporations and their executives through policy or pecuniary gain; at the expense of their own

   employees’ and Americans’ lives.

          308.    Atlas is also acting under color of law as it has conspired with Government officials

   to leverage Plaintiffs’ Constitutional rights against them in an effort to achieve the Biden

   Administration’s goal of achieving universal vaccination and to acquire Plaintiffs personal,

   genetic information. Atlas Air and the federal government have acted in lockstep and set in motion

   a series of acts inflicting violations of Plaintiffs’ Constitutional rights. Through private and public

   meetings, executive orders, and unlawful coercion and duress, Atlas Air has acted in concert with

   the federal government at the expense of their employees including Plaintiffs.

          309.    First, the right to privacy. The Supreme Court has recognized a right to personal

   privacy or a guarantee of certain areas or zones of privacy in the penumbra of the Bill of Rights,

   including the First, Fourth, Fifth and Ninth Amendments, and in the concept of liberty guaranteed

   by the first section of the Fourteenth Amendment. The applicable cases hold that personal rights

   can be deemed fundamental or implicit in the concept of ordered liberty and included in this is

   the guarantee of personal privacy.




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          310.    Applied here, Plaintiffs fundamental right to privacy includes the reasonable

   expectation to not be coerced or put under duress by Atlas to inject an unwanted, experimental,

   foreign gene therapy into their body to save their livelihoods.

          311.    This privacy right also includes Plaintiffs’ individual freedom to choose what

   information they want to share or disclose that is personal in nature; and the right to control the

   extent to which their medical information is shared and released. As a means of coercion, Atlas

   violates Plaintiffs’ privacy rights when they broadcast their private information on internal

   memos, bulletin boards, and other communications.

          312.    Next, equal protection. The Fourteenth Amendment, Section 1, to the United

   States Constitution provides:

   No state shall make or enforce any law which shall abridge the privileges or immunities of citizens

   of the United States; nor shall any state deprive any person of life, liberty, or property, without

   due process of law, nor deny to any person within its jurisdiction the equal protection of the laws.

          313.    Prior to and after the October 2021 announcement of the vaccine mandate, those

   vaccinated were treated superior to and provided more preferential treatment than those who were

   not which included increase in pay, scheduling, benefits and privileges.

          314.    Atlas knowingly and willfully discriminated against those who are not

   unvaccinated and treated persons who are vaccinated different from those who are not without

   lawful justification.

          315.    Allowing similarly situated Plaintiffs (those who are vaccinated) to retain their jobs,

   be paid more, have greater privileges/schedules, and not be required to wear masks, is a facial

   deprivation of equal protection.




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         316.    While the mandate appears neutral on its face, in practice it denies Plaintiffs equal

   protection under the law. For example, the mandates deny equal protection to Plaintiffs who have

   closely held religious beliefs that prevent them from being vaccinated. Because of Atlas’s

   practices, Plaintiffs who hold these beliefs have suffered harm.

         317.    Mandated vaccinations, masks and repeated PCR testing are substantial burdens.

   These employment practices do not have any significant health or safety benefit; thus, there is no

   legitimate interest promoted. To the contrary, the COVID-19 vaccines can cause death and

   permanent injury; and evidence suggests the vaccines are actually prolonging the pandemic.

   Further, natural immunity is more effective and lasts longer than a vaccine.

         318.    Finally, substantive due process. The Fourteenth Amendment provides heightened

   protection against interference with certain fundamental rights and liberty interests. The liberty

   interests protected by the Due Process Clause of the Fifth Amendment includes not only the

   privileges and rights expressly enumerated by the Constitution and Bill of Rights, but also

   includes those fundamental human rights implicit in structured liberty.

         319.    Plaintiffs have a fundamental liberty interest and right to bodily integrity and

   informed consent. This notion of bodily integrity has been embodied in the requirement that

   informed consent is generally required for medical treatment.

         320.    The United States Constitution guarantees that government shall not “deprive any

   person of life, liberty, or property without due process of law,” and precludes Atlas as a State

   Actor from infringing certain fundamental liberty interests no matter the process provided, unless

   the infringement is narrowly tailored to serve a compelling state interest.

         321.    Here, Atlas’ actions are those of a State Actor who lacks a compelling interest to

   impede or infringe upon Plaintiffs’ fundamental rights and fails under any level of scrutiny.

   Plaintiffs have Constitutional and fundamental liberty interests in bodily integrity and informed

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   consent; and a Constitutional and fundamental liberty interest in not being compelled to provide

   private medical information to Atlas.

         322.    Atlas’ vaccine mandates do not serve a legitimate, compelling state interest. While

   courts have found a compelling state interest in controlling the spread of infection from person-

   to-person in some instances, this is inapplicable here since these vaccines/gene therapies and

   masks do not prevent Plaintiffs from dying, being infected or transmitting COVID-19 to another

   person.

         323.    Assuming the vaccines could be said to satisfy the interest of preserving public

   health, Atlas’ mandate is not narrowly tailored since it is not the least restrictive means necessary

   as numerous, less restrictive means than vaccination exist that serve the public interest of

   protecting the public’s health against COVID-19. For instance, antibodies acquired through prior

   infection provide protection, and as stated throughout, natural immunity has shown to be as equal

   to or provide greater protection than the COVID-19 vaccines. And safer, less restrictive

   treatments, preventatives or medications exist like the use of hydroxychloroquine, zinc and

   ivermectin that does serve the public’s interests.

         324.    As a direct and proximate result of Atlas’ policies, practices, regulations and

   conduct, Plaintiffs have suffered harm.

         325.    The conduct of Atlas as described herein represents a willful and conscious

   disregard for the treatment of private citizens under the law as to their right to privacy; and their

   actions shock the conscience of the average person and constitute an abuse of power that is

   malicious and purposeful.

                                           COUNT IV
                               42 U.S.C. § 2000ff-1(a)(1) and (a)(2)
                      Genetic Information Non-Discrimination Act (“GINA”)



                                                                                                     53
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                  All Employee Plaintiffs vs. Atlas Air, FSI and EncompassAir

         326.    Plaintiffs reallege and incorporate paragraphs 1 through 326 above as if fully set

   forth herein and incorporates all of the foregoing factual allegations and all inferences and

   implications drawn therefrom in support of this Count and cause of action.

         327.    GINA prohibits discrimination based on genetic information. Specifically, it is

   unlawful employment practices for an employer to fail to refuse to hire, or to discharge, any

   employee, or otherwise to discriminate against any employee with respect to the compensation,

   terms, conditions, or privileges of employment of the employee because of genetic information.

         328.    GINA also prohibits employers from limiting, segregating, or classifying the

   employees of the employer in any way that would deprive or tend to deprive any employee of

   employment opportunities or otherwise adversely affect the status of the employee because of

   genetic information.

         329.    Atlas Air, FSI and EncompassAir are employers within the meaning of GINA, and

   at all times relevant were engaged in an industry affecting commerce and has at all times had

   fifteen (15) or more employees.

         330.    Plaintiffs are employees as defined by GINA.

         331.    The employers have and continue to violate GINA by discriminating against

   Plaintiffs and other employees based on whether they have been taken a COVID-19 vaccine.

         332.    COVID-19 vaccines are actually Virus-Based Gene Therapies according to the

   FDA’s own definition. These vaccines are unequivocally based upon injecting genetic

   information into a person and changing or manipulating the person’s genetic information.

         333.    According to the FDA: “Gene therapy products are all products that mediate their

   effects by transcription and/or translation of transferred genetic material and/or by integrating



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   into the host genome and that are administered as nucleic acids, viruses, or genetically engineered

   microorganisms.”

         334.    According to the CDC: “Messenger RNA, or mRNA, is genetic material that tells

   your body how to make proteins.”

         335.    According to Genome.gov: “mRNA acts as a cellular messenger. DNA, which is

   stored in a cell’s nucleus, encodes the genetic information for making proteins. mRNA transfers

   a copy of this genetic information outside of the nucleus, to a cells cytoplasm, where it is

   translated into amino acids by ribosomes and then folded into complete proteins.”

         336.    According to Pfizer, its vaccine contains messenger RNA (mRNA), a kind of

   genetic material, and a piece of the SARS-CoV-2 virus’ genetic material that instructs cells in the

   body to make the virus’ distinctive “spike” protein and trigger the immune system to learn to react

   defensively, producing an immune response against the virus.

         337.    As such, those who have been injected with a COVID-19 vaccine necessarily

   possess different genetic material or genetic information than those who do not. Atlas’

   employment practices discriminate or provide unequal opportunities based on an employee’s

   COVID-19 status violates GINA.

         338.    The employers unlawfully discriminated and violated GINA when they took

   adverse employment actions against Plaintiffs and other employees because they are not or refuse

   to be vaccinated.

         339.    The employers unlawfully discriminated and violated GINA when they afforded

   better opportunities (i.e., routes, schedules and benefits) and greater compensation to those who

   are vaccinated than to Plaintiffs who are not; and requiring those who are unvaccinated to wear

   masks at certain times, while permitting those who are vaccinated to go without wearing masks.




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          340.    The employers have engaged in these practices with malice and indifference to

   Plaintiffs’ rights.

          341.    The employers’ discrimination has harmed and will continue to harm Plaintiffs.

          342.    Despite the fact that filing charges with the EEOC is futile, many Plaintiffs have

   done so and the remainder are in the process of doing so.

                                              COUNT V
                                        42 U.S.C. § 2000ff-1(b)
                         Genetic Information Non-Discrimination Act (“GINA”)

                    All Employee Plaintiffs vs. Atlas Air, FSI and EncompassAir

          343.    Plaintiffs reallege and incorporate paragraphs 1 through 343 above as if fully set

   forth herein and incorporates all of the foregoing factual allegations and all inferences and

   implications drawn therefrom in support of this Count and cause of action.GINA also makes it

   unlawful for an employer to request, require or purchase genetic information with respect to an

   employee or a family member of the employee.

          344.    Polymerase Chain Reaction (“PCR”) tests are used to amplify small segments of

   DNA which is genetic material. This is the same sort of test used for forensics, cloning, genome

   projects for mapping genes and DNA sequencing. Genetic test means a test that analyzes DNA,

   RNA or chromosomes for purposes of such as the prediction of disease or vertical transmission

   risks, or monitoring, diagnosis or prognosis.

          345.    For genetic tests, the first step is extraction of genetic material from a human

   specimen either through blood, hair, or oral swab. This is the exact same process used in the PCR

   test required and requested by Atlas to detect the genetic material of COVID-19.

          346.    Atlas Air, FSI and EncompassAir have and continue to violate GINA when

   requesting and requiring the genetic information from their employees by mandating they take



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   the PCR test. They violates GINA by requesting and requiring its employees to have their genetic

   information collected via nasopharyngeal or nasal swab (the swab scrapes the cells from inside

   the nasal cavity which has the genetic material from the person for whom the specimen is

   collected).

          347.    The employers violate GINA when they request their employee’s vaccination status

   by asking Plaintiffs about their vaccination status as they are asking for their genetic information

   given the vaccines are gene therapies in violation of GINA. They limit, segregate, discriminate

   or classify employees in a way that adversely affects their opportunities or status.

          348.    The employers have engaged in these practices with malice and indifference to

   Plaintiffs’ rights.

          349.    The employers’ discrimination has harmed and will continue to harm Plaintiffs.

          350.    Despite the fact that filing charges with the EEOC is futile, many Plaintiffs have

   done so and the remainder are in the process of doing so.

                                              COUNT VI
                            Breach of the Collective Bargaining Agreement

                         Atlas Pilot Employees vs. Atlas and Atlas Executives

          351.    Plaintiffs reallege and incorporate paragraphs 1 through 351 above as if fully set

   forth herein and incorporates all of the foregoing factual allegations and all inferences and

   implications drawn therefrom in support of this Count and cause of action.

          352.    Defendants’ actions against Plaintiffs have violated, and continue to violate, several

   sections of the Collective Bargaining Agreement, including Article 1(A)(4) (“the Company and

   Union will each comply with all applicable laws prohibiting discrimination against any Crew

   Member who is now, or may become, subject to the terms of this Agreement including age, race,

   sex, . . . religion, . . . handicap or disability, or any other characteristic protected by applicable

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       local, state or federal law.” Indeed, recent communications by Atlas and Defendant Atlas

       executives have told Plaintiffs that Plaintiffs’ religious and even medical exemptions to the

       vaccine mandates will not be recognized in the future.

             353.    Under the Agreement, Management rights are laid out in Art. 1(G)(1), which

       provides a long list of rights retained by the Company, including to “direct its Crew Member

       workforce; determine the appropriate number of Crew Members; hire, promote, and discharge

       Crew Members; establish and enforce rules of conduct; maintain discipline and efficiency;

       introduce new equipment; determine the location(s) of the work force,” etc. Under the ancient

       legal maxim Expressio unius est exclusio alterius ("the express mention of one thing excludes all

       others"), when a law or agreement includes a list of specific items, that list is presumed to be

       exclusive. Nothing in the Agreement’s list of Company rights allows the Company to violate

       employees’ bodily integrity by mandating injections of potentially dangerous experimental

       vaccines which do not provide immunity or prevent transmission.9

             354.    Art. 26(R) of the Collective Bargaining Agreement plainly forbids Atlas Air from

       exposing Plaintiffs to Unsafe Conditions: “1. Nothing in this Agreement will be construed to

       require a Crew Member to take any action if he reasonably believes that such action will result in

       substantial and imminent risk of harm to the Crew Member or his equipment.”

             355.    According to the US government’s VAERS database, the vaccines have already led

       to the deaths of 26,000 Americans. Scholarly, peer-reviewed estimates suggest the VAERS

       database underreports adverse events from vaccines by a rate of at least 90%. At trial, Plaintiffs


   9
     Nor can there be any “emergency” exception argument allowing for Atlas to impose a vaccine mandate. Art. 22H
   even provides a list of natural disasters and acts of God which may constitute exceptions over which “the Company
   has no control,” including a natural disaster, a labor dispute, grounding of a substantial number of the Company’s
   aircraft by government agency, war emergency, or acts of terrorism. The Agreement’s specification of a “war
   emergency” evidence that other, contrived “emergencies,” such as a virus pandemic posing a 4/100ths of 1% death
   rate for those under age 70, do not fall within such a catastrophic exception list.



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   will show that a number of vaccinated coworkers within the Atlas company have already suffered

   adverse effects and injuries following vaccinations.

         356.    Art. 15(A)(1) of the Agreement plainly states that “The physical standards required

   of a Crew Member shall be the standards required by the Federal Aviation Administration (as

   outlined in 14 CFR Part 67 and as may be amended) . . . .” Current FAA standards do not require

   vaccination for air crew members.

         357.    Art. 15(C)(12) provides that “Medical records and other information obtained as a

   result of a Company required medical examination” or testing shall be “subject to safeguards as

   to their confidentiality in accordance with applicable law.” Yet Atlas and other Defendants have

   repeatedly violated the medical privacy of Plaintiffs.

         358.    Defendants have also violated the JUST CAUSE, DISCIPLINE, DISCHARGE

   AND PROBATION provisions of Article 19 of the Agreement. Plaintiffs have simply been told

   that they will be terminated on May 1 unless they submit to the experimental injections.

         359.    Further, Atlas and the Defendant Atlas executives have violated Article 22, which

   requires that “Except as may otherwise be provided in this Agreement, seniority will govern with

   respect to upgrade and downgrade, filling of vacancies, displacements, reduction in force

   (furlough), recall from furlough, Base and aircraft assignments due to expansion or reduction in

   aircraft and Base staffing, monthly schedules, vacation bidding and when otherwise required by

   the Agreement.” Article 22D requires that Atlas employees may lose their seniority ranks only

   upon proper discharge, retirement, death, resignation, extended absence or other terminal events.

         360.    Yet Atlas Air and the Defendant executives have paid vaccinated employees more

   than unvaccinated employees, and have maneuvered to terminate large numbers of seniority-

   status crewmembers.




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          361.     Further, Article 25X plainly and clearly forbids Atlas Air from discrimination

   “against any Crew Member because of race, color, national origin, religion, creed, sex, age,

   disability, veteran status, marital status, or sexual orientation.

          362.     The Atlas pilot Plaintiffs are third-party beneficiaries of the Collective Bargaining

   Agreement.

          363.     Several of the Plaintiffs have either religious or medical objections or exemptions

   to the COVID-19 treatment injections. Yet Atlas Air and the other Defendants have continued to

   demand that they be injected with the proven-dangerous, experimental, ineffective vaccine

   treatments. This plainly violates Article 25X of the Agreement.

          364.     Additionally, the Collective Bargaining Agreement must comply with state and

   federal law, including Title 7. Defendants violated the CBA by interpreting it to defy state and

   federal law, as described above.




                                              COUNT VII
                                                  Fraud
                                    All Plaintiffs vs. All Defendants

          365.     Plaintiffs reallege and incorporate paragraphs 1 through 365 above as if fully set

   forth herein and incorporates all of the foregoing factual allegations and all inferences and

   implications drawn therefrom in support of this Count and cause of action. above as if fully set

   forth herein.

          366.     Defendants made (or participated in or approved the making of) numerous false

   statements to Plaintiffs as set forth above, including regarding the efficacy of COVID-19 vaccines

   and the fact that Atlas would offer reasonable accommodations for those with religious or medical

   objections to taking COVID-19 vaccines.



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         367.    Defendants also misrepresented facts regarding vaccine requirements of different

   countries, including Germany and the countries of South America, falsely telling plaintiffs that

   those countries were off-limits to unvaccinated pilots and crew.

         368.    Defendants knew that these representations were false at the time they made the

   representations.

         369.    For instance, simultaneously while the Company claimed to respect its employees’

   decisions whether or not to be vaccinated and promised to provide religious and medical

   accommodations, it also reserved the right to determine that accommodations were no longer

   reasonable.

         370.    The Company then repeatedly equivocated on whether employees with

   accommodations were permitted to work without getting vaccinated or whether these employees

   would be placed on leave without pay.

         371.    Moreover, Defendants knew that their representations regarding “full vaccination”

   status were false at the time they made the representations.

         372.    The Company originally informed employees that they would be fully vaccinated

   in compliance with Company guidelines upon receiving a single dose of the Johnson & Johnson

   vaccine.

         373.    However, the Company then informed employees that they would not be permitted

   to fly to Germany, South America, and certain other areas even if they had received one dose of

   the Johnson & Johnson vaccine.

         374.    The Company falsely stated that these areas legally required people flying into

   those areas to be vaccinated with more than a single dose of the Johnson & Johnson vaccine, but

   the Company knew that these areas had no such restrictions.




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           375.   The Company discriminated against employees who refused to take any or

   additional vaccines despite the Company’s repeated promises to respect the right to refuse the

   vaccine.

           376.   Defendants intended that their representations would induce Plaintiffs to act on

   those representations.

           377.   For instance, Defendants implemented a Company-wide vaccine mandate and

   repeatedly warned employees that they faced potential unemployment if they refused to be

   vaccinated.

           378.   Further, Defendants paid employees five hours of compensation upon being

   vaccinated, and Defendants removed the ability for unvaccinated employees to fly to certain

   places.

           379.   Plaintiffs reasonably relied on those false statements. Some Plaintiffs lost hundreds

   of hours and thousands of dollars of income. Some Plaintiffs relied on them to actually take the

   vaccine.

           380.   As a direct and proximate result of these false statements, Plaintiffs have suffered

   harm.

           381.   For example, Plaintiffs who were coerced into being vaccinated suffered intense

   stress upon learning that the vaccines are ineffective and carry a high risk of injury.

           382.   Plaintiffs who did not get vaccinated suffered loss of income because the Company

   prohibited them from many flights and required them to pay for their own COVID-19 tests, loss

   of job security because the Company constantly informed them that they were on the verge of

   unemployment, and stigmatization because the Company treated them as more disposable than

   their vaccinated colleagues.




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         383.    Defendants acted willfully and with malicious intent in making these false

   statements.

                                            COUNT VIII
                             Restatement (Second) of Torts § 46 (1965)
                             Intentional Infliction of Emotional Distress

                                   All Plaintiffs vs. All Defendants

         384.    Plaintiffs reallege and incorporate paragraphs 1 through 384 above as if fully set

   forth herein and incorporates all of the foregoing factual allegations and all inferences and

   implications drawn therefrom in support of this Count and cause of action.

         385.     Defendants acted intentionally or recklessly with respect to the conduct set forth

   in this Complaint, when Defendants’ obligation that employees be vaccinated or lose their jobs

   resulted in inflicted mental, and emotional distress upon them. Even if Defendants did not intend

   to cause these symptoms on Plaintiffs, their deliberate disregard of a high degree of probability

   that the emotional distress will follow is enough to satisfy the element. There is a high degree of

   probability that Plaintiffs would suffer from severe emotional distress by getting fired, retaliation

   from the Defendants, being forced to get the vaccine, or a pay cut.

         386.    Defendants’ conduct has been and continues to be extreme and outrageous, because

   Defendants engaged in conduct that would be considered outrageous including but not limited to:

   threats, harassment, embarrassment, yelling, and intimidation that is so extreme in degree, as to

   go beyond all possible bounds of decency. The conduct displayed by Defendants would not be

   considered mere insults, indignities, annoyances, petty oppressions, or other trivialities such as

   inconsiderate or unkind. It was conduct that was aimed to show hatred, intimidation, contempt,

   and disgust towards the Plaintiffs.




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         387.    As a proximate result of Defendants’ actions, Plaintiffs have suffered severe

   emotional distress including but not limited to highly unpleasant mental reactions, such as fright,

   horror, grief, shame, humiliation, embarrassment, anger, chagrin, disappointment, worry, and

   nausea. For example, Defendants hostility and retaliation towards Plaintiffs caused several

   Plaintiffs to suffer economic injury, mental anguish, humiliation and embarrassment, as well as

   other emotional injuries.

         388.    For instance, on account of Defendant’s illegal discrimination, harassment, and

   retaliation, several Plaintiffs were stricken with grief, distress, anxiety which has and continues

   to harm Plaintiffs to this day. For others, the decision to get a forced inoculation or lose their job

   with no other options or recourse caused Plaintiffs to suffer from problems such as emotional

   distress, depression, increased drug use, lost enjoyment of life, increased tobacco consumption,

   sexual problems, lack of sleep, nightmares, pain and suffering, mental anguish, anxiety, or a

   reduced sense of well-being.

         389.    The harm caused by Defendants to Plaintiffs was reasonably foreseeable, because

   it is foreseeable that Plaintiffs will suffer substantially when facing the prospect of attempting to

   provide for their families without any income or trying to find a job in a very difficult market.

   Besides the stress and pain that come with losing a job there were specific Plaintiffs that would

   have difficulty feeding their infants and worrying that the baby might get sick or die due to their

   exposure in being forced to go to work, some that have experienced trouble sleeping or can barely

   go to sleep at all resulting in physical symptoms, or stress and humiliation being ridiculed,

   harassed, and criticized by coworkers.

         390.    For example, it is reasonable that a Plaintiff will suffer from severe emotional

   distress if they are laughed at, ridiculed, mocked, and bullied by fellow employees and supervisors

   due to their religious beliefs. In addition, the policies produced by management resulted in

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   instances of vicious shouting and screaming among Plaintiffs and other staff during flights,

   occasional unsafe episodes of pilots leaving their cockpits to scream at coworkers for being

   unvaccinated, Plaintiffs being harassed or discriminated every day on the job and some even

   bullied into getting the vaccine suffering from severe emotional distress.

          391.   Further, it is reasonable to predict that when Defendants violate the fundamental

   interests of the Plaintiffs (religious/medical) in a deceptive manner it will result in the Plaintiffs

   being denied rights granted to other employees, along with the emotional distress and anguish

   that comes along with that

                                            Prayer for Relief

   Plaintiffs demand judgment against Defendants as follows:


                 i.      An award of compensatory damages in appropriate amounts to be

                         established at trial, no less than an average of $1,000,000 per Plaintiff (total

                         of at least $159,000,000);


                 ii.     Punitive damages no less than $30,000,000 per Plaintiff or the maximum

                         permitted by law as determined by the jury;


                 iii.    Preliminary and permanent injunctive relief enjoining Defendants from any

                         further COVID-19 related mandates or restrictions on Plaintiffs or any

                         prospective future employees;


                 iv.     Awards of damages tailored to make vaccine-injured plaintiffs whole with

                         regard to their manifest and likely future long-term injuries and disabilities;


                 v.      An award of attorneys’ fees and costs associated with this action;




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                vi.     An award of prejudgment and post-judgment interest at the legal rate to the

                        maximum extent permitted by law;

                vii.    Injunctive relief preventing Defendants from further implementing their

                        unlawful COVID-19 vaccine mandate, or from further firing, terminating,

                        punishing, retaliating or otherwise further harming Plaintiffs; and

                viii.   Such other and further relief as the Court may deem just and proper.




                                         JURY DEMAND
        Plaintiffs demand a trial by jury on all issues so triable.



       Date: October 27, 2022                        ____________________________________
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